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For each type of surface water body, assign
a dilution-weighted population value from
table 4-14, based on the number of people in-
cluded for that type of surface water body.
(Note that the dilution-weighted population
values in table 4-14 incorporate the dilution
weights from table 4-13. Do not multiply the
values from table 4-14 by these dilution
weights.)

Calculate the value for the potential con-
tamination factor (PC) for the watershed as
follows:

where:

W, = Dilution-weighted population from
table 4-14 for surface water body type i.

n = Number of different surface water body
types in the watershed.

If PC is less than 1, do not round it to the
nearest integer; if PC is 1 or more, round to
the nearest integer. Enter this value for the
potential contamination factor in table 4-1.

4.1.2.8.2.5 Calculation of population factor
value. Sum the factor values for Level I con-
centrations, Level II concentrations, and po-
tential contamination. Do not round this
sum to the nearest integer. Assign this sum
as the population factor value for the water-
shed. Enter this value in table 4-1.

4.1,.2.3.3 Resources. To evaluate the re-
sources factor for the watershed, select the
highest value below that applies to the wa-
tershed. Assign this value as the resources
factor value for the watershed. Enter this
value in table 4-1.

Assign a value of 5 if, within the in-water
segment of the hazardous substance migra-
tion path for the watershed, the surface
water is used for one or more of the fol-
lowing purposes:

* Irrigation (5 acre minimum) of commer-
cial food crops or commercial forage crops.

* Watering of commercial livestock.

« Ingredient in commercial food prepara-
tion.

e Major or designated water recreation
area, excluding drinking water use.

Assign a value of 5 if, within the in-water
segment of the hazardous substance migra-
tion path for the watershed, the surface
water is not used for drinking water, but ei-
ther of the following applies:

« Any portion of the surface water is des-
ignated by a State for drinking water use
under section 305(a) of the Clean Water Act,
as amended.

« Any portion of the surface water is usa-
ble for drinking water purposes.

Assign a value of 0 if none of the above ap-
plies.

4.1.2.3.4 Calculation of drinking water
threat-targets factor category value. Sum the
nearest intake, population, and resources

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factor values for the watershed. Do not
round this sum to the nearest integer. Assign
this sum as the drinking water threat-tar-
gets factor category value for the watershed.
Enter this value in table 4-1.

4.1.2.4 Calculation of the drinking water
threat score for a watershed. Multiply the
drinking water threat factor category values
for likelihood of release, waste char-
acteristics, and targets for the watershed,
and round the product to the nearest integer.
Then divide by 82,500. Assign the resulting
value, subject to a maximum of 100, as the
drinking water threat score for the water-
shed, Enter this value in table 4-1.

4.1.38 Human food chain threat. Evaluate
the human food chain threat for each water-
shed based on three factor categories: likeli-
hood of release, waste characteristics, and
targets.

4.1.3.1 Human food chain threat-likelihood
of release, Assign the same likelihood of re-
lease factor category value for the human
food chain threat for the watershed as would
be assigned in section 4.1.2.1.3 for the drink-
ing water threat. Enter this value in table +
1 i

4.13.2 Human food chain threat-wasie char-
acteristics. Evaluate the waste characteristics
factor category for each watershed based on
two factors: toxicity/persiatence/bioaccumu-
lation and hazardous waste quantity.

4.1.3.2.1 Toxicity/persist Di la
tion, Evaluate all those hazardous substances
eligible to be evaluated for toxicity/persist-
ence in the drinking water threat for the wa-
tershed (see section 4.1.2.2).

4.1.3.2.1.1 Tovicity. Assign a toxicity factor
value to each hazardous substance as speci-
fied in section 2.4.1.1.

4.13.2.12 Persistence. Assign a persistence
factor value to each hazardous substance as
specified for the drinking water threat (see
section 4.1.2.2.1.2), except: use the predomi-
nant water category (that is, lakes; or rivera,
oceans, coastal tidal waters, or Great Lakes)
between the probable point of entry and the
nearest fishery (not the nearest drinking
water or resources intake) along the haz-
ardous substance migration path for the wa-
tershed to determine which portion of table
410 to use. Determine the predominant
water category based on distance as specified
in section 4.1.2.2.1.2. For contaminated sedi-
ments with no identified source, use the
point where measurement begins rather than
the probable point of entry.

4.1.3.2.1.3 Bioaccumulation potential, Use
the following data hierarchy to assign a bio-
accumulation potential factor value to each
hazardous substance:

e Bioconcentration factor (BCF) data.

* Logarithm of the n-octanol-water parti-
tion coefficient (log K,) data,

e Water solubility data.

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Assign a bioaccumulation potential factor
value to each hazardous substance from
table 4-15.

If BCF data are available for any aquatic
human food chain organism for the sub-
stance being evaluated, assign the bio-
accumulation potential factor value to the
hazardous substance as follows:

e If BCF data are available for both fresh
water and salt water for the hazardous sub-
atance, use the BCF data that correspond to
the type of water body (that is, fresh water
or salt water) in which the fisheries are lo-
cated to assign the bioaccumulation poten-
tial factor value to the hazardous substance.

« If, however, some of the fisheries being
evaluated are in fresh water and some are in
salt water, or if any are in brackish water,
use the BCF data that yield the higher factor
value to assign the bioaccumulation poten-
tial factor value to the hazardous substance.

« If BCF data are available for either fresh
water or salt water, but not for both, use the
available BCF data to assign the bioaccumu-
lation potential factor value to the haz-
ardous substance.

If BCF data are not available for the haz-
ardous substance, use log K,w data to assign
a bioaccumulation potential factor value to
organic substances, but not to inorganic sub-
stances. If BCF data are not available, and if
either log K,. data are not available, the log
K.w is available but exceeds 6.0, or the sub-
stance is an inorganic substance, use water
solubility data to assign a bioaccumulation
potential factor value.

TABLE 4—15—BIOACCUMULATION POTENTIAL
FACTOR VALUES 4

Mf bioconcentration factor (BCF) data are available for any
aquatic human food chain organism, assign a value as fol-

BCF

Greater than or equal to 10,000 ... 50,000
1,000 to less than 10,000 ...... 5,000
100 to less than 1,000 oe 500
10 to less than 100 50
1 to less than 10 5
Less than 1 05

If BCF data are not available, and log Kw
data are available and do not exceed 6.0, as-
sign a value to an organic hazardous sub-
stance as follows (for inorganic hazardous

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substances, skip this step and proceed to the
next):

Log Kew tases

5.5 to 6.0 50,000

4.5 to less than 5.5 5,000

3.2 to less than 4.5 500

2.0 to less than 3.2 50

0.8 to less than 2.0 5

Less than 0.8 0.6

If BCF data are not available, and if either
Log Ky data are not available, a log Koy is
available but exceeds 6.0, or the substance is
- inorganic substance, assign a value as fol-
OWS:

TABLE 4—15—BIOACCUMULATION POTENTIAL

FACTOR VALUES A—CONCLUDED
Water solubility (mg) —
Less than 25 50,000
25 to 500 5,000
Greater than 500 to 1,500 ...cscscssssssesssesssesenseen 500
Greater than 1,500 0.5

ff none of these data are available, assign a value of 0.5.

= Do not round to nearest integer.
© See text for use of freshwater and saltwater BCF data.

Do not distinguish between fresh water and
salt water in assigning the bioaccumulation
potential factor value based on log Koy. or
water solubility data.

If none of these data are available, assign
the hazardous substance a bioaccumulation
potential factor value of 0.5.

4.1.3.2.1.4 Calculation of toricity/persistence/
bioaccumulation factor value. Assign each haz-
ardous substance a toxicity/persistence fac-
tor value from table 4-12, based on the values
assigned to the hazardous substance for the
toxicity and persistence factors. Then assign
each hazardous substance a toxicity/persist-
ence/bioaccumulation factor value from
table 4-16, based on the values assigned for
the toxicity/persistence and bioaccumulation
potential factors. Use the hazardous sub-
stance with the highest toxicity/persistence/
bioaccumulation factor value for the water-
shed to assign the value to this factor. Enter
this value in table 4-1.

TABLE 4—16—TOXICITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES 4

Bioaccumulation potential factor value
Toxicity persistence factor value
50,000 5,000 500 50 5 Os
10,000 5x 108 5x 107 5x 108 5x 105 5x 1 5,000
4,000 2x 108 2x 107 2x10) 2x108| 2x 104 2,000
1,000 5 x 107 5x 104 5x 105 5x 10* §,000 500
700 3.5107 | 35x 10°) 35105) 35x 10* 3,500 350
400 2x10" 2x 108 2x16 2x10 2,000 200
100 5x10¢! §x 105 5x 104 5,000 500 50

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TABLE 4—16—TOXICITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES “—Continued
Bioaccumulation potential factor value
Toxicity persistence factor value
50,000 5,000 500 50 5 o5
70 3.510%) 3.5107) 35x 10+ 3,500 350 35
40 2x 10° 2x 105 2x 10+ 2,000 200 20
10 §x 10° 5x 104 5,000 500 50 5
7 3.5x 105 | 3.510" 3,500 360 35 3.5
4 2™ 105 2x10 2,000 200 20 2
1 5» 104 §,000 500 50 5 O5
0.7 3.5 x 104 3,500 350 35 3.5 0.35.
o4 2x1 2,000 200 20 2 0O2
0.07 3,500 350 35 3.5 0.35. 0.035
0.007 350 35 3.5 0.35 0.035 0.0035
0.0007 35. 3.5 0.35 0.035 0.0035 0.00035
0 0 0 0 0 0 0

*Do not round to nearest integer.

41.3.2.2 Hazardous waste quantily. Assign
the same factor value for hazardous waste
quantity for the watershed as would be as-
signed in section 4.1.2.2.2 for the drinking
water threat. Enter this value in table 4-1.

4.1.3.2.3 Calculation of human food chain
threat-waste characteristics factor category
value, For the hazardous substance selected
for the watershed in section 4,1.3.2.1.4, use its
toxicity/persistence factor value and bio-
accumulation potential factor value as fol-
lows to assign a value to the waste charac-
teristics factor category. First, multiply the
toxicity/persiatence factor value and the haz-
ardous waste quantity factor value for the
watershed, subject to a maximum product of
1 x 108, Then multiply this product by the
bioaccumulation potential factor value for
this hazardous substance, subject to a max-
imum product of 1 x 10%. Based on this sec-
ond product, assign a value from Table 2-7
(section 2.4.3.1) to the human food chain
threat-waate characteristics factor category
for the watershed. Enter this value in table
41,

41.3.3 Human food chain threat-targets.
Evaluate two target factors for each water-
shed: food chain individual and population.
For both factors, determine whether the tar-
get fisheries are subject to actual or poten-
tial human food chain contamination.

Consider a fishery (or portion of a fishery)
within the target distance limit of the wa-
tershed to be subject. to actual human food
chain contamination if any of the following
apply:

e A hazardous substance having a bio-
accumulation potential factor value of 500 or
greater is present either in an observed re-
lease by direct observation Lo the watershed
or in a surface water or sediment sample
from the watershed at a level Lhat meets the
criteria for an observed release to the water-
shed from the site, and al least a portion of
the fishery is within the boundaries of the
observed release (that is, it ts located either
at the point of direct observation or at or be-

tween the probable point of entry and the
most distant sampling point establishing the
observed release).

« The fishery is closed, and a hazardous
substance for which the fishery has been
closed has been documented in an observed
release to the watershed from the site, and
at least a portion of the fishery is within the
boundaries of the observed release.

e A hazardous substance is present in a tis-
sue sample from an essentially sesaile,
benthic, human food chain organism from
the watershed at a level that meets the cri-
terla for an observed release to the water-
shed from the site, and at least a portion of
the fishery is within the boundaries of the
observed release.

For a fishery that meets any of these three
criteria, but that is not wholly within the
boundaries of the observed release, consider
only the portion of the fishery that is within
the boundaries of the observed release to be
subject to actual human food chain contami-
nation. Consider the remainder of the fishery
within the target distance limit to be subject
to potential food chain contamination.

In addition, consider all other fisheries
that are partially or wholly within the tar-
get distance limit, for Lhe watershed, includ-
ing Osheries partially or wholly within the
boundaries ofan observed release for the wa-
tershed that do not meet any of the three
erlterla listed above, to be subject to poten-
tia! human food chain contamination, If only
a portion of the fishery Is within the target
distance limit for the watershed, Include
only that portion in evaluating the targets
factor category.

When a fishery (or portion of a fishery) is
subject to actual food chain contamination,
determine the part of the fishery subject to
Level 1 concentrations and the part subject
to Level II concentrations. If the actual food
chain contamination is based on direct ob-
servation, evaluate it using Level I] con-
centrations. However, if the actual food
chain contamination is based on samples

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from the watershed, use these samples and, if
available, additional tissue samples from
aquatic human food chain organisms as spec-
ified below, to determine the part subject to
Level I concentrations and the part subject
to Level II concentrations:

* Determine the level of actual contamina-
tion from samples (including tissue samples
from essentially sessile, benthic organisms)
that meet the criteria for actual food chain
contamination by comparing the exposure
concentrations (see section 4.1.2.3) from
these samples (or comparable samples) to
the health-based benchmarks from table 4
17, as deacribed in section 2.5.1 and 2.5.2. Use
only the exposure concentrations for those
hazardous substances in the sample (or com-
parable samples) that meet the criteria for
actual contamination of the fishery.

« In addition, determine the level of actual
contamination from other tissue samples by
comparing the concentrations of hazardous
substances in the tissue aamples (or com-
parable tissue samples) to the health-based
benchmarks from table 4-17, as described in
sections 2.6.1 and 2.5.2, Use only those addi-
tional tissue samples and only those haz-
ardous substances in the tissue samples that
meet all the following criteria:

-The tissue sample is from a location that
is within the boundaries of the actual food
chain contamination for the site (that is,
either at the point of direct observation or
at or between the probable point of entry
and the most distant sample point meeting
the criteria for actual food chain contami-
nation).
-The tissue sample is from a species of
aquatic human food chain organism that
spends extended periods of time within jthe
boundaries of the actual food chain con-
tamination for the site and that is not an
essentially sessile, benthic organism.
~The hazardous substance is a substance
that is also present in a surface water,
benthic, or sediment sample from within
the target distance limit for the watershed
and, for such a sample, meets the criteria
for actual food chain contamination.

TABLE 4-17—HEALTH-BASED BENCHMARKS FOR
HAZARDOUS SUBSTANCES IN HUMAN Foop
CHAIN

« Concentration corresponding to Food and
Drug Administration Action Level (FDAAL)
for fish or shellfish.

« Screening concentration for cancer cor-
responding to that concentration that cor-
responds to the 10-* individual cancer risk
for oral exposures,

« Screening concentration for noncancer
toxicological responses corresponding to the
Reference Dose (RfD) for oral exposures.

4.1.3.3.1 Food chain individual. Evaluate
the food chain individual factor based on the
fisheries (or portions of fisheries) within the

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target distamce limit for the watershed, As-
sign this factor a value as follows:

e If any fishery (or portion of a fishery) is
subject to Level I concentrations, assign a
value of 50.

e If not, but if any fishery (or portion of a
fishery) is subject to Level II concentrations,
assign a value of 45,

e If not, but if there is an observed release
of a hazardous substance having a bio-
accumulation potential factor value of 500 or
greater to surface water in the watershed
and there is a fishery (or portion of a fishery)
present anywhere within the target distance
limit, assign a value of 20.

« If there ia no observed release to surface
water in the watershed or there is no ob-
served release of a hazardous substance hav-
ing a bioaccumulation potential factor value
of 500 or greater, but there is a fishery (or
portion of a fishery) present anywhere with-
in the target distance limit, assign a value
as follows:

-Using table 4-13, determine the highest di-

lution weight (that is, lowest amount of di-

lution) applicable to the fisheries (or por-

tions of fisheries) within the target dis-
tance limit. Multiply this dilution weight
by 20 and round to the nearest integer.

-Assign this calculated value as the factor

value.

e If there are no fisheries (or portions of
fisheries) within the target distance limit of
the watershed, assign a value of 0.

Enter the value assigned in table 4-1.

4.1.3.3.2 Population. Evaluate the popu-
lation factor for the watershed based on
three factors: Level I concentrations, Level
II concentrations, and potential human food
chain contamination. Determine which fac-
tor applies for a fishery (or portion of a fish-
ery) as specified in section 4.1.3.3.

4.1.3.3.2.1 Level I concentrations. Determine
those fisheries (or portions of fisheries) with-
in the watershed that are subject to Level I
concentrations.

Estimate the human food chain population
value for each fishery (or portion of a fish-
ery) as follows:

e Estimate human food chain production
for the fishery based on the estimated an-
nual production (in pounds) of human food
chain organisms (for example, fish, shellfish)
for that fishery, except: if the fishery is
closed and a hazardous substance for which
the fishery has been closed has been docu-
mented in an observed release to the fishery
from a source at the site, use the estimated
annual production for the period prior to clo-
sure of the fishery or use the estimated an-
nual production from comparable fisheries
that are not closed.

e Assign the fishery a value for human
food chain population from table 4-18, based
on the estimated human food production for
the fishery.

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« Set boundaries between fisheries at those
points where human food chain production
changes or where the surface water dilution
weight changes.

Sum the human food chain population
value for each fishery (and portion of a fish-
ery). Multiply this sum by 10. If the product
is less than 1, do not round it to the nearest
integer; if 1 or more, round to the nearest in-
teger. Assign the resulting value as the
Level I concentrations factor value. Enter
this value in table 4-1.

4.1.3.3.2.2 Level II concentrations. Deter-
mine those fisheries (or portions of fisheries)
within the watershed that are subject to
Level II concentrations. Do not include any
fisheries (or portions of fisheries) already
counted under the Level I concentrations
factor,

Assign each fishery (or portion of a fish-
ery) a value for human food chain population
from table 418, based on the estimated
human food production for the fishery. Esti-
mate the human food chain production for
the fishery as specified in section 4.1.3.3.2.1.

Sum the human food chain population
value for each fishery (and portion of a fish-
ery). If this sum is less than 1, do not round
it to the nearest integer; if 1 or more, round
to the nearest integer. Assign the resulting
value as the Level I. concentrations factor
value. Enter this value in table 4-1.

TABLE 4—18—HUMAN FOOD CHAIN POPULATION

VALUES4

Assi
Human food chain production (pounds per human food
year) chain |

lation
0 0
Greater than 0 to 100 ... 0.03
Greater than 100 to 1,000 .... o3
Greater than 1,000 lo 10,000 ... 3
Greater than 10,000 ta 100,000 .... x
Greater than 100,000 to 1,000,000 310
Greater than 108 to 107 3,100
Greater than 107 to 10% 31,000
Greater than 10* to 10° 310,000
G6 than 10° 3,100,000

*Do nol round to nearest integer.

4.1.3.3.2.3 Potential human food chain con-
tamination. Determine those fisheries (or por-
tions of fisheries) within the watershed that
are subject to potential human food chain
contamination. Do not include those fish-
eries (or portion of fisheries) already counted
under the Level I or Level I concentrations
factors.

Calculate the value for the potential
human food chain contamination factor (PF)
for the watershed as follows:

1 o
PF = 79 ei

i=l

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where:

P, = Human food chain population value for
fishery 1.

D, = Dilution weight from table 4-13 for fish-
ery i.

n = Number of fisheries subject to potential
human food chain contamination.

In calculating PF:

e Estimate the human food chain popu-
lation value (P,) for a fishery (or portion of
a fishery) as specified in section 4.1,3.3.2.1.

e Assign the fishery (or portion of a fish-
ery) a dilution weight as indicated in table 4
13 (section 4.1.2.3.1), except: do not assign a
dilution weight of 0.5 for a “3-mile mixing
zone in quiet Mowing river’’; instead assign a
dilution weight based on the average annual
flow.

If PF is leas than 1, do not round it to the
nearest integer; if PF is 1 or more, round to
the nearest integer. Enter the value assigned
in table 4-1.

4.1.3.3.2.4 Calculation of population factor
value. Sum the values for the Level I con-
centrations, Level II concentrations, and po-
tential human food chain contamination fac-
tors for the watershed. Do not round this
sum to the nearest integer. Assign it as the
population factor value for the watershed.
Enter this value in table 4-1.

4.1.3.3.3 Calculation of human food chain
threat-targets factor category value. Sum the
food chain individual and population factor
values for the watershed. Do not round this
sum to the nearest integer. Assign it as the
human food chain threat-targets factor cat-
egory value for the watershed. Enter this
value in table 4-1.

4.1.3.4 Calculation of human food chain
threat score for a watershed. Multiply the
human food chain threat factor category val-
ues for likelihood of release, waste charac-
teristics, and targets for the watershed, and
round the product to the nearest integer.
Then divide by 82,500. Assign the resulting
value, subject to a maximum of 100, as the
human food chain threat score for the water-
shed. Enter this score in table 4-1,

4.1.4 Environmental threat. Evaluate the
environmental threat for the watershed
based on three factor categories: likelihood
of release, waste characteristics, and targets.

4.1.4.1 Environmental threat-likelihood of re-
lease. Assign the same likelihood of release
factor category value for the environmental
threat for the watershed as would be as-
signed in section 4.1.2.1.3 for the drinking
water threat. Enter this value in table 4-1.

4.1.4.2 Environmental threat-waste charac-
teristics. Evaluate the waste characteristics
factor category for each watershed based on
two factors: ecosystem toxicity/persistence/
bioaccumulation and hazardous waste quan-

ty.
4.1.4.2.1 Ecasystem toricity/persistence/bio-
accumulation. Evaluate all those hazardous

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substances eligible to be evaluated for tox-
icity/persistence in the drinking water
threat for the watershed (see section 4.1.2.2).

4.1.4,.2.1.1 Ecosystem tozicity. Assign an eco-
system toxicity factor value from Table 4-19
to each hazardous substance on the basis of
the following data hierarchy:

e EPA chronic Ambient Water Quality Cri-
terion (AWQC) for the substance,

e EPA chronic Ambient Aquatic Life Advi-
sory Concentrations (AALAC) for the sub-
stance.

* EPA acute AWQC for the substance.

¢ EPA acute AALAC for the substance.

e Lowest LCs value for the substance.

In assigning the ecosystem toxicity factor
value to the hazardous substance:

e If either an EPA chronic AWQC or
AALAC is available for the hazardous sub-
stance, use it to assign the ecosystem tox-
icity factor value. Use the chronic AWQC in
preference to the chronic AALAC when both
are available.

e If neither is available, use the EPA acute
AWQC or AALAC to assign the ecosystem
toxicity factor value, Use the acute AWQC in
preference to the acute AALAC.

e If none of the chronic and acute AWQCs
and AALACs is available, use the lowest LCso
value to assign the ecosystem toxicity factor
value.

« If an LCs, value is also not available, as-
sign an ecosystem toxicity factor value of 0
to the hazardous substance and use other
hazardous substances for which data are
available in evaluating the pathway.

If an ecosystem toxicity factor value of 0 is
assigned to all hazardous substances eligible
to be evaluated for the watershed (that is,
insufficient data are available for evaluating
all the substances), use a default value of 100
as the ecosystem toxicity factor value for all
these hazardous substances.

With regard to the AWQC, AALAC, or LCs
selected for assigning the ecosystem toxicity
factor value to the hazardous substance:

e If values for the selected AWQC, AALAC,
or LCs are available for both fresh water and
marine water for the hazardous substance,
use the value that corresponds to the type of
water body (that is, fresh water or salt
water) in which the sensitive environments
are located to assign the ecosystem toxicity
factor value to the hazardous substance.

* If, however, some of the sensitive envi-
ronments being evaluated are in fresh water
and some are in salt water, or if any are in
brackish water, use the value (fresh water or
marine) that yields the higher factor value
to assign the ecosystem toxicity factor value
to the hazardous substance.

eIf a value for the selected AWQC,
AALAC, or LCs is available for either fresh
water or marine water, but not for both, use
the available one to assign an ecosystem tox-
icity factor value to the hazardous sub-
stance.

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TABLE 4—-19—ECOSYSTEM TOXICITY FACTOR
VALUES

o b
1a a Cs is available, assign a
EPA chronic AWQC or AALAC coed
Less than 1 ug/l 10,000
1 to 10 pol 1,000
Greater than 10 to 100 gh 100

Greater than 100 to 1,000 po.
Greater than 1,000 pg ......000cese

if neither an EPA chronic AWQC nor EPA chronic
AALAC Is avaliable, assign a value based on the EPA
acute AWQC or AALAC as follows:°

EPA acute AWQC or AALAG ae
Less than 100 jg 10,000
100 to 1,000 gil 4,000
Greater than 1,000 to 10,000 pg/ ....... i 100
Greater than 10,000 to 100,000 pg/ 10

Greater than 100,000 [gl ......ssesssse 1

HW neither an EPA chronic or acute AWQC nor EPA
chronic or acute AALAC Is avaitable, assign a value
from the LCs as follows:

LCsp “au
Less than 100 yig/l 10,000
100 to 1,000 ug 1,000
Greater than 1,000 to 10,000 gf ........ 100
Greater than 10,000 to 100,000 1g. 10
Greater than 100,000 ig! .. ts 1

Ht none of the AWQCs and AALACs nor the LCs» is avail-
able, assign a value of 0.

* AWQC—Ambient Water Quality Criteria.
> AALAC.

¢Use the AWQC value in preference the RALAG when
both are available. ob best er Une or trasts Water nied tweety
values,

4.1.4.2.1.2 Persistence. Assign a persistence
factor value to each hazardous substance aa
specified in section 4.1.2.2.1.2, except: use the
predominant water category (that is lakes;
or rivers, oceans, coastal tidal waters, or
Great Lakes) between the probable point of
entry and the nearest sensitive environment
(not the nearest drinking water or resources
intake) along the hazardous substance mi-
gration path for the watershed to determine
which portion of table 4-10 to use. Determine
the predominant water category based on
distance as specified in section 4.1.2.2,1.2. For
contaminated sediments with no identified
source, use the point where measurement be-
gins rather than the probable point of entry.

4.1.4.2.1.8 Ecosystem bioaccumulation poten-
tial. Assign an ecosystem bioaccumulation
potential factor value to each hazardous sub-
stance in the same manner apecified for the
bioaccumulation potential factor in section
4,1.3.2.1.3, except:

« Use BCF data for all aquatic organisms,
not just for aquatic human food chain orga-
nisms.

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e Use the BCF data that corresponds to the
type of water body (that is, fresh water or
salt water) in which the sensitive environ-
ments (not fisheries) are located.

4.1.4.2.1.4 Calculation of ecosystem tozicity/
persistence/bioaccumulation factor value. As-
sign each hazardous substance an ecosystem
toxicity/persistence factor value from table
4-20, based on the values assigned to the haz-
ardous substance for the ecosystem toxicity
and persistence factors. Then assign each

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hazardous substance an ecosystem toxicity/

persistence/bioaccumulation

factor

value

from table 4-21, based on the values assigned
for the ecosystem toxicity/persistence and
ecosystem bioaccumulation potentia)] fac-
tors. Select the hazardous substance with
the highest ecosystem toxicity/persistence/
bioaccumulation factor value for the water-
shed and use it to assign the value to this
factor. Enter this value in table 4-1.

TABLE 4—20—ECOSYSTEM TOXICITY/PERSISTENCE FACTOR VALUES “

Ecosystem toxicity factor value
Persistence factor value ~

10,000 1,000 100 10 1 0
1.0 10,000 1,000 100 10 1/0
04 4,000 400 40 4 o4|} 0
0.07 700 70 7 0.7 0.07) O
0.0007 i 0.7 0.07 0.007 | 0.0007| O

*Do not round to nearest integer.

TABLE 4—21—ECOSYSTEM TOXICITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES 4

. Ecosy p factor value
Ecosystem toxicity persistance factor value
50,000 5,000 500 50 5 0.5
10,000 5x1087| Sx107) 5x10) Sx108| 5x 104 5,000
4,000 2x108| 2x107| 2x108) 2x105| 2x 104 2,000
1,000 5x07) Sx108) Sx10%| 5x 104 5,000 500
700 3.5107 | 3.5% 108) 3,5 105| 3.5.x 104 3,500 350
400 2x107)| 2x108) 2x108| 2x 10+ 2,000 200
100 5x 108 6x1 5 x 10* 5,000 500 50
70 3.510%] 3.5% 105| 3.5 x 10+ 3,500 350 35
40 2x08) 2x105) 2x 104 2,000 200 20
10 5x108| 5x 104 5,000 500 50 5
7 3.5 105 | 3.5 x 104 3,500 350 35 3.5
4 2x105| 2x 104 2,000 200 20 2
1 5x 104 5,000 500 50 5 05
0.7 3.5 = 10* 3,500 350 35 35 0.35
0.4 2x 10% 2,000 200 20 2 0.2
0.07 3,500 350 35 3.5 0.35 0.035
0.007 350 35 3.5 0.35 0,035 0.0035
0.0007 35 3.5 0.35 0.035 0.0035 0.00035
0 0 oO 0 0 0 oO

®Do not round to nearest integer.

4.1.4.2.2 Hazardous waste quantity. Assign
the same factor value for hazardous waste
quantity for the watershed as would be as-
signed in section 4.1.2.2.2 for the drinking
water threat. Enter this value in table 4-1.

4.1.4.2.3 Calculation of environmental
threat-waste characteristics factor category
value. For the hazardous substance selected
for the watershed in section 4.1.4.2.1.4, use its
ecosystem toxicity/persistence factor value
and ecosystem bioaccumulation potential
factor value as follows to assign a value to
the waste characteristics factor category.
First, multiply the ecosystem toxicity/per-
sistence factor value and the hazardous
waste quantity factor value for the water-
shed, subject to a maximum product of 1 x
10°. Then multiply this product by the eco-
system bioaccumulation potential factor

value for this hazardous substance, subject

to a maximum product of 1 x 101°, Based on
this second product, assign a value from
Table 2-7 (section 2.4.3.1) to the environ-
mental threat-waste characteristics factor
category for the watershed. Enter this value

in table 4-1.

TABLE 4-22—ECOLOGICAL-BASED BENCHMARKS
FOR HAZARDOUS SUBSTANCES IN SURFACE

WATER

e Concentration corresponding to EPA
Ambient Water Quality Criteria (AWQC) for
protection of aquatic life (fresh water or ma-

rine).

* Concentration corresponding to EPA
Ambient Aquatic Life Advisory Concentra-

tions (AALAC).

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* Select the
AALAC as follows:
-Use chronic value, if available; otherwise
use acute value.
-If the sensitive environment being evalu-
ated is in fresh water, use fresh water
value, except: if no fresh water value is
available, use marine value if available.

appropriate AWQC and

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-If the sensitive environment being evalu-
ated is in salt water, use marine value, ex-
cept: if no marine value is available, use
fresh water value if available.

-If the sensitive environment being evalu-
ated is in both fresh water and salt water,
or is in brackish water, use lower of fresh
water or marine values.

TABLE 4—-23—SENSITIVE ENVIRONMENTS RATING VALUES

Assigned
Sensitive environment value
Critical habital® for Federal designated endangered or th 100
Marine Sanctuary
National Park
Designated Federal Wildemess Area
Areas identified under Coastal Zone Management Act®
Sensitive areas identified under National Estuary Program® or Near Coastal Waters Program®
Crilical areas identified under the Clean Lakes Program®
National Monument!
National Seashore Recreational Area
National Lakeshore Recreational Area
Habitat known to be used by Federal designated or proposed endangered or th d species 75
National Preserve
National or State Wildlife Refuge
Unit of Coastal Barrier Resources System
Coastal Barrier (undeveloped)
Federal land designated for protection of natural ecosystems
Administratively Proposed Federal Wildemess Area
Spawning areas critical for the maintenance of fish/shellfish species within river, lake, or coastal tidal waters
Migratory palhways and feeding areas critical for mal of fish within river reaches or
areas in lakes or coastal tidal waters in which the fish spend extended periods of time
Terrestrial areas utilized for breeding by large or dense aggregations of animals»
Nationa! river reach designated as Recreational
Habitat known to be used by State red or threatened species 50
Habitat known to be used by species under review as to Its Federal endangered or threatened status
Coastal Barrier (partially developed)
Federal designated Scenic or Wild River
State land designated for wildlife or game nent 25
State designated Scenic or Wild Alver
State designated Natural Areas
Particular areas, relatively email in size, important to maintenance of unique blotic communities
State designated areas for p ion oF vce of aquatic life! §

*Critical habital as defined in 50 CFR 424.02.

as requiring p

protection i ue.
Program study areas (subareas prene sibu oak causes) idenified in e Cc and Mansge-
they critical life stages of kay estuarine species (Section 320 of Clean er

“Near Cees ates: as defined in Sections oe 304(1), 319, and 320 of Clean Water Act, as a

mended.
lakes, or in some cases entire small lakes) identified by State Clean

*Clean Lakes Program critical areas (subareas within lakes,
Lake Plans as critical habilat (Section 314 of Clean Water Act, as amended).
'Use only for air migration pathway.
@ Limit to areas described as bein see aoe ie oF c d ig by a given speci
bFor the air marenon potas, ‘Far nf water migration pathway, limit to terres-

trial vertebrate species ran
‘Areas designated under Section $05(a) a ata ‘Act, as amended.

TABLE 4—24—WETLANDS RATING VALUES FOR
SURFACE WATER MIGRATION PATHWAY

TABLE 4-24—WETLANDS RATING VALUES FOR
SURFACE WATER MIGRATION PATHWAY—Con-
tinued

Total length of wetlands * (miles) value

Less than 0.1
0.1 tot
G than 1 to 2
G than 2 to3
Greater than 3 to 4
Greater than 4 to 8
Greater than 8 to 12

BSSxeR.

Total length of wetlands * (miles)

ale

Greater than 12 to 16 ....
Greater than 16 to 20
Greater than 20

“Wetlands as defined in 40 CFR section 230.3.

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4.14.3 Environmental threat-targeis. Evalu-
ate the environmental threat-targets factor
category for a watershed using one factor:
sensitive environments.

41.4.3.1 Sensitive environments. Evaluate
sensitive environments along the hazardous
substance migration path for the watershed
based on three factors: Level I concentra-
tions, Level II concentrations, and potential
contamination.

Determine which factor applies to each
sensitive environment as specified in section
4.1.2.3, except: use ecological-based bench-
marks (Table 4-22) rather than health-based
benchmarks (Table 3-10) in determining the
level of contamination from samples. In de-
termining the level of actual contamination,
use a point of direct observation anywhere
within the sensitive environment or samples
(that is, surface water, benthic, or sediment
samples) taken anywhere within or beyond
the sensitive environment (or anywhere ad-
jacent to or beyond the sensitive environ-
ment if it is contiguous to the migration
path).

4.1.4.3.1.1 Level I concentrations. Assign
value(s) from table 4-23 to each sensitive en-
vironment subject to Level I concentrations.

For those sensitive environments that are
wetlands, assign an additional value from
table 4-24. In assigning a value from table 4
24, include only those portions of wetlands
located along the hazardous substance mi-
gration path in the area of Level I con-
centrations. If a wetland is located partially
along the area of Level I concentrations and
partially along the area of Level I con-
centrations and/or potential contamination,
then solely for purposes of table 4-24, count
the portion(s) along the areas of Level 0
concentrations or potential contamination
under the Level OL concentrations factor
(section 4.1.4.3.1.2) or potential contamina-

tion factor (section 4.1.4.3.1,3), as appro-
priate.
Estimate the total length of wetlands

along the hazardous substance migration
path (that is, wetland frontage) in the area
of Level I concentrations and assign a value
from table 4-24 based on this total length.
Estimate this length as follows:

« For an isolated wetland or for a wetland
where the probable point of entry to surface
water is in the wetland, use the perimeter of
that portion of the wetland subject to Level
I concentrations as the length.

e For rivers, use the length of the wetlands
contiguous to the in-water segment of the
hazardous substance migration path (that is,
wetland frontage).

e For lakes, oceans, coastal tidal waters,
and Great Lakes, use the length of the wet-
lands along the shoreline within the target
distance limit (that is, wetland frontage
along the shoreline).

Calculate the Level I concentrations factor
value (8H) for the watershed as follows:

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n
SH=10] WH+ }S,
i=l

where:

WH = Value assigned from table 4-24 to wet-
lands along the area of Level I con-
centrations.

8; = Value(s) assigned from table 4-23 to sen-
sitive environment i.

n = Number of sensitive environments from
table 4-23 subject to Level I concentra-
tions.

Enter the value assigned in table 4-1.

4.1,4.3.1.2 Level II concentrations. Assign
value(s) from table 4-23 to each sensitive en-
vironment subject to Level OU concentra-
tions. Do not include sensitive environments
already counted for table 4-23 under the

Level I concentrations factor for this water-

shed.

For those sensitive environments that are
wetlands, assign an additional value from
table 4-24. In assigning a value from table 4-
24, include only those portions of wetlands
located along the hazardous substance mi-
gration path in the area of Level II con-
centrations, as specified in section 4.1.4.3.1.1.

Estimate the total length of wetlands
along the hazardous substance migration
path (that is, wetland frontage) in the area
of Level II concentrations and assign a value
from table 4-24 based on this total length.
Estimate this length as specified in section
4.1.4.3.1.1, except: for an isolated wetland or
for a wetland where the probable point of
entry to surface water is in the wetland, use
the perimeter of that portion of the wetland
subject to Level TI (not Level I) concentra-
tions as the length.

Calculate the Level OT concentrations
value (SL) for the watershed as follows:

n
SL=WL+)'S;
i=l

where:

WL = Value assigned from table 4-24 to wet-
lands along the area of Level I con-
centrations.

8, = Value(s) assigned from table 4-23 to sen-
sitive environment i.

n = Number of sensitive environments from
table 4-23 subject to Level I concentra-
tions.

Enter the value assigned in table 41.

4.1.4.3.1.3 Potential contamination. Assign
value(s) from table 4-23 to each sensitive en-
vironment subject to potential contamina-
tion. Do not include sensitive environments
already counted for table 4-23 under the
Level I or Level II concentrations factors.

For each type of surface water body in
table 4-13 (section 4.1.2.3.1), aum the value(s)

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assigned from table 4-23 to the sensitive en-
vironments along that type of surface water
body, except: do not use the surface water
body type “3-mile mixing zone in quiet flow-
ing river."’ If a sensitive environment is
along two or more types of surface water
bodies (for example, Wildlife Refuge contig-
uous to both a moderate stream and a large
river), assign the sensitive environment only
to that surface water body type having the
highest dilution weight value from table 4-
13

For those sensitive environments that are
wetlands, assign an additional value from
table 4-24, In assigning a value from table 4-
24, include only those portions of wetlands
located along the hazardous substance mi-
gration path in the area of potential con-
tamination, as specified in section 4.1.4.3.1.1.
Aggregate these wetlands by type of surface
water body, except: do not use the surface
water body type ‘3-mile mixing zone in quiet
flowing river.” Treat the wetlands aggre-
gated within each type of surface water body
as separate sensitive environments solely for
purposes of applying table 424. Hatimate the
total length of the wetlands within each sur-
face water body type as specified in section
4.1.4.3.1.1, except: for an isolated wetland or
for a wetland where the probable point of
entry to surface water is in the wetland, use
the perimeter of that portion of the wetland
subject to potential contamination (or the
portion of that perimeter that is within the
target distance limit) as the length. Assign a
separate value from table 4-24 for each type
of surface water body in the watershed.

Calculate the potential contamination fac-
tor value (SP) for the watershed as follows:

sP= 752 (%+8,)

where:

n
$= 8;
i=]

Sj = Value(s) assigned from table 4-23 to sen-
sitive environment i in surface water
body type j.

n = Number of sensitive environments from
table 4-23 subject to potential contami-
nation.

W; = Value assigned from table 4-24 for wet-
lands along the area of potential con-
tamination in surface water body type j.

D, = Dilution weight from table 4-13 for sur-
face water body type j.

m = Number of different surface water body
types from table 4-13 in the watershed.

If SP is less than 1, do not round it to the
nearest integer; if SP is 1 or more, round to
the nearest integer. Enter this value for the
potential contamination factor in table 4-1.

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4.1.4.3.1.4 Calculation of environmental
threat-targets factor category value. Sum the
values for the Level I concentrations, Level
TO concentrations, and potential contamina-
tion factors for the watershed. Do not round
this sum to the nearest integer. Assign this
sum as the environmental threat-targets fac-
tor category value for the watershed. Enter
this value in table 4-1.

4.1.4.4 Calculation of environmental threat
score for a watershed. Multiply the environ-
mental threat factor category values for
likelihood of release, waste characteristics,
and targets for the watershed, and round the
product to the neareat integer, Then divide
by 82,500. Assign the resulting value, subject
to a maximum of 60, as the environmental
threat score for the watershed. Enter this
acore in table 4-1.

4.1.5 Calculation of overland/flood migration
component score for a watershed. Sum the
scores for the three threats for the water-
shed (that is, drinking water, human food
chain, and environmental threats). Assign
the resulting score, subject to a maximum
value of 100, as the surface water overland/
flood migration component score for the wa-
tershed. Enter this score in table 4-1.

4.1.6 Calculation of overland/flood migration
component score. Select the highest surface
water overland/flood migration component
score from the watersheds evaluated. Assign
this score as the surface water overland/flood
migration component score for the site, sub-
ject to a maximum score of 100. Enter this
score in table 4-1.

4.2 Ground water to surface water migration
component. Use the ground water to surface
water migration component to evaluate sur-
face water threats that result from migra-
tion of hazardous substances from a source
at the site to surface water via ground water.
Evaluate three types of threats for this com-
ponent: drinking water threat, human food
chain threat, and environmental threat,

4.2.1 General considerations.

4.2.1.1 Eligible surface waters. Calculate
ground water to surface water migration
component scores only for surface waters
(aee section 4.0.2) for which all the following
conditions are met:

* A portion of the surface water is within
i mile of one or more sources at the site hav-
ing a containment factor value greater than
0 (see section 4.2.2,1,2),

e No aquifer discontinuity is established
between the source and the portion of the
surface water within 1 mile of the source (see
section 3.0.1.2.2). However, if hazardous sub-
atances have migrated acrosa an apparent
discontinuity within this 1 mile distance, do
not consider a discontinuity present in scor-
ing the site.

e The top of the uppermost aquifer is at or
above the bottom of the surface water.

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Do not evaluate this component for sites
consisting solely of contaminated sediments
with no identified source.

4.2.1.2 Definition of hazardous substance mi-
gration path for ground water to surface water
migration component. The hazardous sub-
stance migration path includes both the
ground water segment and the surface water
in-water segment that hazardous substances
would take as they migrate away from
sources at the site:

* Restrict the ground water segment to
migration via the uppermost aquifer between
a source and the surface water.

« Begin the surface water in-water seg-
ment at the probable point of entry from the
uppermost aquifer to the surface water. Iden-
tify the probable point of entry as that point
of the surface water that yielda the shortest
straight-line distance, within the aquifer
boundary (see section 3.0.1.2), from the
sources at the site with a containment factor
value greater than 0 to the surface water.

-For rivers, continue the in-water segment

in the direction of flow (including any tidal

flows) for the distance established by the
target distance limit (see section 4.2.1.4).

-For lakes, oceans, coastal tidal waters, or

Great Lakes, do not consider flow direc-

tion. Instead apply the target distance

limit as an arc.

-If the in-water segment includes both riv-

ers and lakes (or oceans, coastal tidal

waters, or Great Lakes), apply the target
distance limit to their combined in-water
segments.

Consider a site to be in two or more water-
sheds for this component if two or more haz-
ardous substance migration paths from the
sources at the site do not reach a common
point within the target distance limit. If the
site is in more than one watershed, define a
separate hazardous substance migration path
for each watershed. Evaluate the ground
water to surface water migration component
for each watershed separately as specified in
section 4.2.1.5.

4.2.1.3 Observed release of a specific haz-
ardous substance to surface water in-water seg-
ment. Section 4.2.2.1.1 apecifies the criteria
for assigning values to the observed release
factor for the ground water to surface water

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migration component. With regard to an in-
dividual hazardous substance, consider an
observed release of that hazardous subatance
to be established for the surface water in-
water segment of the ground water to sur-
face water migration component only when
the hazardous substance meets the criteria
both for an observed release both to ground
water (see section 4.2.2.1.1) and for an ob-
served release by chemical analysis to sur-
face water (see section 4,1.2.1.1).

If the hazardous substance meets the sec-
tion 4.1.2.1.1 criteria for an observed release
by chemical analysis to surface water but
does not also meet the criteria for an ob-
served release to ground water, do not use
any samples of that hazardous substance
from the surface water in-water segment in
evaluating the factors of this component (for
example, do not use the hazardous substance
in establishing targets subject to actual con-
tamination or in determining the level of ac-
tual contamination for a target).

4.2.1.4 Target distance limit. Determine the
target distance limit for each watershed as
specified in section 4.1.1.2, except: do not ex-
tend the target distance limit to a sample lo-
cation beyond 15 miles unless at least one
hazardous substance in a sample from that
location meets the criteria in section 4.2.1.3
for an observed release to the surface water
in-water segment.

Determine the targets eligible to be evalu-
ated for each watershed and establish wheth-
er these targets are subject to actual or po-
tential contamination as specified in section
4.1.1.2, except: do not establish actual con-
tamination based on a sample location un-
less at least ome hazardous substance in a
sample from that location meets the criteria
in section 4.2.1.3 for an observed release to
the surface water in-water segment.

4.2.1.5 Evaluation of ground water to surface
water migration component. Evaluate the
drinking water threat, human food chain
threat, and environmental threat for each
watershed for this component based on three
factor categories: likelihood of release,
waste characteristics, and targets. Figure 4-
2 indicates the factors included within each
factor category for each type of threat.

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Likellhood of Release (LR)
Drinking Veter
Observed Release Waste Cheracteristice (WC) Target (7)
or x
Potential to Release Toxletty/Mobility/Pers! Intake
* Contelnment * Toxicity Population
* fet Precipitation = Chronic M | © Level I Concentrations
* Depth to Aquifer = Carcinogenic © Level II Concentrations
© Travel Time Acute * Potential Contamination
= Mobility Resources
= Water Solubility
= Distribution Coefficient (Ky)
* Persistence
= Wal f-life
= «€,
Herardous Waate Quant (ty
* Hatordoua Conatituent Guentity
* Hazerdous Uastestresm Quantity
* Volume
= Aree
* a
Human Food Chain
Waste Characteristics (WC) Targets (1)
Tonicity/Mobi | Ity/Persistence/ Food Chain Individual
Bioaccumulation Population
= Toalcity * Level I Concentrations
~ Chronic + Human Food Chain
* Carcinegentc x Production
~ Acute * Level [1 Concentrations
* Mobi lity = Numan Food Chain

Production
© Potential Humsn Fond

= Water Solubility
+ Dletribution Coefficient (kK)

* Persistence Chain Contasinstion

~ Half-life ~ Human Food Chain

* Production
: ‘seSfeumtatten Potential
Hazardous Waste Guant{ty
. dous Constituent Quant ity
© Hazardous Vsstestrean Quantity
* Volume
* Area

*
Environmental
Waste Characteriatics (WC) Tergets {T)

Ecosystem Toxicity/mobl Lity/
Peraistence/Bloeccumlation
* Ecosystem Toxicity
= Anbient Water Quality
Criteria
~ Amblent Aquatic Life
Advisory Concentrations
* Mobility
~ Water Solubility
+ Oletribution Cosfficient (kK)
= Persistence
= Walf-Uife

=f
. Ecosystem Blesccum lation
Potential
Hazardous Waste Guantity
* Hazardous Vestestress Guantity
* Mazardous Conatitutent Guant ity!
* Volume
*

area

Sensitive Environments

* Level | Concentrations
* Level IL Concentrations
* Potential Contamination

Figure 4-2

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OVERVIEW OF GROUND WATER TO SURFACE WATER MIGRATION COMPONENT

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Determine the ground water to surface
water migration component score (S,,) for a
watershed in terms of the factor category
values as follows:

> (LR, (we, \r)

__i=l
Sp = SF

where:

LR, = Likelihood of release factor category
value for threat i (that is, drinking
water, human food chain, or environ-
mental threat).

WC, = Waste characteristics factor category
value for threat i.

T, = Targets factor category value for threat
i.

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SF = Scaling factor.

Table 425 outlines the specific calculation
procedure.

If the site is in only one watershed, assign
the ground water to surface water migration
component score for that watershed as the
ground water to surface water migration
component acore for the site.

If the site is in more than one watershed:

e Calculate a separate ground water to sur-
face water migration component score for
each watershed, using likelihood of release,
waste characteristics, and targets applicable
to each watershed.

e Select the highest ground water to sur-
face water migration component score from
the watersheds evaluated and assign it as the
ground water to surface water migration
component score for the site.

TABLE 4—-25—GROUND WATER TO SURFACE WATER MIGRATION COMPONENT SCORESHEET

Factor categories and factors Maximum | Value assigned
Drinking Water Threat
Likelihood of Release to Aquifer:
1, Ob d Release 550
2. Potential to Release:
2a. Contal t 10
2b. Net Precipitation 10
2c. Depth to Aquifer 5
2d, Travel Time 35
2e. Potential to Release (lines 2a[2b + 2c + 2d)) .. 500
3. Likelihood of Release (higher of lines 1 and Ze) 550
Waste Characteristics:
4. Toxicity/Mobllity/Persistence (a)
5, Hazardous Waste ‘Quantity (a)
6. Waste Ch 100
Targets:
7. Nearest Intake 50
8. Population
8a, Level | C ations {b)
8b. Level II Concentrations (b)
8c. Potential Contamination (b)
8d. Population (lines 8a + 8b + 8c)
9. Resources 5 aeg
10. Targets (lines 7 + 8d + 9) (b)
Drinking Water Threat Score:
11. Drinking Water Threat Score {lines 3 x 6 x 10)/82,500, subject to a maximum of
100) 100 —
Human Food Chain Threat
Likelihood of Release:
12. Likelihood of Release (same value as line 3) §50
Waste Characteristics:
13. Toxicity/Mobility/Parsistence/Bioaccumulation (a) ==
14. Hazardous Weste Quantity {a)
15. Waste Ch ri 1,000
Targets:
16. Food Chain Individual 50
17. Population:
17a, Level 1C ations (b)
17b. Level II Concentrations (b)
17c. Potential Human Food Chain Contamination (b)
17d. Population (lines 17a + 17b + 17c) (b) ——
18. Targets (Lines 16 + 17d) {b) 2
Human Food Chain Threat Score:
19. Human Food Chain Threat Score ([lines 12 x 15 x 18]/62,500, subject to a max-
imum of 100) 100
Environmental Threat
Likelihood of Release:
20. Likelihood of Release (same value as line 3) 550 =<
Waste Characteristics:
21, Ecosystem Toxicity/Mobility/Persistence/Bloaccumulation .... See eee (a)

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TABLE 4—25—GROUND WATER TO SURFACE WATER MIGRATION COMPONENT SCORESHEET—
Continued
Factor categories and factors Maximum | Value assigned
22. Hazardous Waste Quantity (a)
23. Waste C' i 1,000
Targets:
24, Sensitive Environments:
24a. Level | G (b) a=.
24b. Level {| C (b)
P ial C ination {b)
24d. Sensitive Environments (lines 24a + 24b + 2dc) .... (b) eae
25. Targets (value from line 24d) {b)
Environmental Threat Score:
26. Environmental Threat Score (flines 20 x 23 x 25)/82,500, subject to a maximum
of 60) 60
Ground Water to Surface Water Migration Component Score for a Watershed
27. Watershed Score® (lines 11 + 19 + 26, subject toa i of 100) 100
28. Component Score (5,,)* (highest score from Line 27 for all watersheds evalu-
ated, subject to a maximum of 100) 100 nese

*Maximum value applies to waste characteristics category.
+Maximum value not applicable.
©Do not round to nearest integer.

4.2.2 Drinking water threat. Evaluate the
drinking water threat for each watershed
based on three factor categories: likelihood
of release, waste characteristics, and targets.

4.2.2.1 Drinking water threat-likelihood of
release. Evaluate the likelihood of release
factor category for each watershed in terms
of an observed release factor or a potential
to release factor.

4.2,2.1.1 Observed release. Establish an ob-
served release to the uppermost aquifer as
specified in section 3.1.1. If an observed re-
lease can be established for the uppermost
aquifer, assign an observed release factor
value of 550 to that watershed, enter this
value in table 4-25, and proceed to section
4,2.2.1.3, If no observed release can be estab-
lished, assign an observed release factor
value of 0, enter this value in table 4-25, and
proceed to section 4.2.2,1.2.

4.2.2,1.2 Potential to release. Evaluate po-
tential to release only if an observed release
cannot be established for the uppermost aq-
uifer. Calculate a potential to release value
for the uppermost aquifer as specified in sec-
tion 3.1.2 and sections 3.1.2.1 through 3.1.2.5,
Assign the potential to release value for the
uppermost aquifer as the potential to release
factor value for the watershed. Enter this
value in table 4-25.

4.22.13 Calculation of drinking water

reat-likelihood of rel factor category
value. If an observed release is established
for the uppermost aquifer, assign the ob-
served release factor value of 550 as the like-
lihood of release factor category value for
the watershed. Otherwise, assign the poten-
tial to release factor value as the likelihood
of release factor category value for the wa-
tershed. Enter the value assigned in table 4—
25.

4.2.2.2 Drinking water threat-waste charac-
teristics. Evaluate the waste characteristics
factor category for each watershed based on
two factors: toxicity/mobility/persistence
and hazardous waste quantity, Evaluate only
those hazardous substances available to mi-
grate from the sources at the site to the up-
permost aquifer (see section 3.2). Such haz-
ardous substances include:

« Hazardous substances that meet the cri-
teria for an observed release to ground
water.

e All hazardous substances associated with
a source that has a ground water contain-
ment factor value greater than 0 (see sec-
tions 2.2.2, 2.2.3, and 3.1.2.1).

4.2.2.2.1 Tozicity/mobility/persistence. For
each hazardous substance, assign a toxicity
factor value, a mobility factor value, a per-
sistence factor value, and a combined tox-
icity/mobility/persistence factor value as
specified in sections 4.2.2.2.1.1 through
4.2.2.2.1.4,

4.2.2.2.1.1 Tozicity. Assign a toxicity factor
value to each hazardous substance as speci-
fied in section 2.4.1.1.

4.2.2.2.1.2 Mobility. Assign a ground water
mobility factor value to each hazardous sub-
stance as specified in section 3.2.1.2.

4.2.2.2.1.3 Persistence. Assign a surface
water persistence factor value to each haz-
ardous substance as specified in section
4.1.2.2.1.2.

4.2.2,.2.1.4 Calculation of toricity/Anobility/
persistence factor value. First, assign each
hazardous substance a toxicity/mobility fac-
tor value from table 3-9 (section 3.2.1.3),
based on the values assigned to the haz-
ardous substance for the toxicity and mobil-
ity factors. Then assign each hazardous sub-
stance a toxicity/mobility/persistence factor

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value from table 4-26, based on the values as-
signed for the toxicity/mobility and persist-
ence factors. Use the substance with the
highest toxicity/mobility/ persistence factor
value for the watershed to assign the value
to this factor. Enter this value in table 4-25.

4.2.2.2.2 Hazardous waste quantity. Assign
the same factor value for hazardous waste
quantity for the watershed as would be as-
signed for the uppermost aquifer in section
3.2.2. Enter this value in table 4-26.

4.2.2.2.3 Calculation of drinking water
threat-waste characteristics factor category

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value. Multiply the toxicity/mobility/persist-
ence and hazardous waate quantity factor
values for the watershed, aubject to a max-
imum product of 1 x 108. Based on this prod-
uct, assign a value from table 2-7 (section
2.4.3.1) to the drinking water threat-waste
characteristics factor category for the wa-
tershed. Enter this value in table 4-25.

4.2.2.3 Drinking water/threat-targets. Evalu-
ate the targets factor category for each wa-
tershed based on three factors: nearest in-
take, population, and resources.

TABLE 4—26—ToxIciTY/MOBILITY/PERSISTENCE FACTOR VALUESA

Persistence factor value
Toxicity/mobility factor value
” 1.0 0.4 0.07 0.0007

10,000 710,000 4,000 700 7
2,000 2,000 800 140 1.4
1,000 1,000 400 70 0.7
200 200 80 14 O14
100 100 40 7 0.07
20 20 8 1.4 0.014
10 10 4 07 0,007
2 2 0.8 0.14 0.0014
1 1 0.4 0.07 7x 10-4
02 0.2 0.08 0.014) 1.4% 10-4
0.1 0.4 0.04 0.007 7x 10-3
0.02 0.02 0.008 0.0014) 1410-5
0.01 0.01 0.004 7x 10-4 7x 10-6
0.002 0.002| 8x10-4| 14x1074| 1.4% 10-5
0.001 0.001 | 4x 1074 7x 10-5 7x 10-7
2x 10-4 2x10-4| 8x10-3| 14x10-5| 1410-7
110-4 1x1074| 4x 10-5 7x 1076 7x 10-*
2x10-5 2x10-5| 8x10-¢) 1410-6] 14% 10-*
2x 10-8 210-6) 8x10-7| 141077) 141079
2x 10-7 2x10-7| 8x10-*| 1.41078) 1.4x 10-2
2x 10-8 2x10-®| @x10-") 1410-9) 14x 10-1
2x 10-9 2x10-9| 8x10-| 1.4%10- | 1.4 10-2
0 0

*Do not round to nearest integer.

For the nearest intake and population fac-
tors, determine whether the target surface
water intakes are subject to actual or poten-
tial contamination as apecified in section
4.1.1.2, subject to the restrictions specified in
sections 4.2.1.3 and 4.2.1.4.

When the intake is subject to actual con-
tamination, evaluate it using Level I con-
centrations or Level II concentrations. De-
termine which level applies for the intake by
comparing the exposure concentrations from
a sample (or comparable samples) to health-
based benchmarks as specified in section
4.1.2.3, except use only those samples from
the surface water in-water segment and only
those hazardous substances in such samples
that meet the conditions in sections 4.2.1.3
and 4.2.1.4,

4,2.2.3.1 Nearest intake. Assign a value to
the nearest intake factor as specified in sec-
tion 4.1.2.3,1 with the following modification.
For the intake being evaluated, multiply its
dilution weight from table 413 (section
4.1,2.38.1) by a value selected from table 4-27.

Use the resulting product, not the value
from table +13, as the dilution weight for
the intake for the ground water to surface
water component. Do not round this product
to the nearest integer.

Select the value from table 4-27 based on
the angle ©, the angle defined by the sources
at the site and either the two points at the
intersection of the surface water body and
the l-mile distance ring of any two other
points of the surface water body within the
1-mile distance ring, whichever results in the
largest angle. (See Figure 4-3 for an example
of how to determine 6.) If the surface water
body does not extend to the 1-mile ring at
one or both ends, define © using the surface
water endpoint(s) within the 1-mile ring or
any two other points of the surface water
body within the 1-mile distance ring, which-
ever results in the largeat angle.

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TABLE 4—27—DILUTION WEIGHT ADJUSTMENTS TABLE 4—27—DILUTION WEIGHT
ADJUSTMENTS—Continued
Angle @ (degrees) si
As-

raves Angle © (degrees) signed
0 0 value®
aeme Galena on Greater than 234 to 270 ...... O7
Greater than 54 to 90 02 Greater than 270 to 306 08
Greater than 90 to 126 03 Greater than 306 to 342 og
Greater than 126 10 162 e.ccecssssccsssssssssssecsssssesssssensses 0.4 Greater than 342 to 360 1.0
Greater than 162 to 198 .. 0.5
Greater than 198 10 234 .....cscscssssssemnensenersrreenn | 0.6 *Do not round to nearest integer.

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~———_ 1 Mile Ring

Sources. ——

FIGURE 4-3
SAMPLE DETERMINATION OF GROUNB WATER
TO SURFACE WATER ANGLE

TABLE 4—28—TOxXICITY/MOBILITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES“

Bioaccumlation potential factor value
Toxicity/mobility/persistence factor value
50,000 5,000 500 50 5 O5
10,000 5x 10° 5x 107 5x 108 5x 108 5 x 104 §,000
4,000 2108 2x 107 2x 10* 2x16 2x 104 2,000
2,000 1x104 4x 107 1x 108 1x 10 1» 104 1,000

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TABLE 4-28—TOXICITY/MOBILITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES “—Continued
Bioaccumlation potential factor value
Toxicity/mobility/persistance factor value
50,000 5,000 500 50 5 0.5
1,000 5x 107 5x 108 5x 10% 5x 10+ 5,000 500
800 4x10" 4x 108 4x16 4x 10+ 4,000 400
700 3.5% 10? | 35%10°| 35%105) 3.5 x 104 3,500 350
400 2x 107 2x 108 2x16 2x 104 2,000 200
200 1x 107 1x1 1x 106 1x 104 1,000 100
140 7x 108 7x10) 7x 104 7,000 700 70
100 5 x 100 5x105) Sx 104 5,000 500 50
80 4x108) 4105! 4104 4,000 400 40
70 35x*108) 35% 105) 3.5.x 104 3,500 350 35
40 2x 108 2x 105 2x 104 2,000 200 20
20 1x 108 1« 105 1x 104 1,000 100 10
14 7x 105 7x 104 7,000 700 70 7
10 5x 105 5x 104 5,000 500 50 5
6 4x108) 4x 104 4,000 400 40 4
7 35% 10%) 35x 104 3,500 350 35 35
4 2105) 2» 104 2,000 200 20 2
2 1x 105 1x 104 1,000 100 10 1
14 7x 104 7,000 700 70 iz 0.7
10 5x 104 5,000 500 50 5 05
08 4x 104 4,000 400 40 4 0.4
o7 3.5 =x 104 3,500 350 35 35 0.35
0.4 2x10 2,000 200 20 2 02
O2 1104 1,000 100 10 1 0.1
O14 7,000 700 70 7 07 0.07
O41 5,000 500 50 & 05 0.05
0.08 4,000 400 40 4 04 0.04
0.07 3,500 350 35 35 0.35 0.035
0.04 2,000 200 20 2 0.2 0.02
0.02 1,000 100 10 1 Of 0.01
0.014 700 70 a O7 0.07 0.007
0.01 500 50 5 0.5 0.05 0.005
0.008 400 40 4 04 0.04 0.004
0.007 350 35 a5 0.35 0,035 0.0035
0.004 200 20 2 02 0.02 0.002
0.002 100 10 1 0.1 0.01 0.001
0.0014 70 7 07 0.07 0,007 | 7x 10-4
0.001 50 5 05 0.05 0.005) 5x 10-4
8x 10-4 40 4 0.4 0,04 0.004) 4x 10-4
7x 10-4 35 3.5 0.035 0.035 0.0035 35x
10-4
4x 10-4 20 2 02 0.02 0.002} 2x 10-4
2x 10-4 10 1 0.1 0.01 0.001 | 1x 10-4
14 «10-4 7 0.7 0.07 0.007 | 7x10-4) 7x 10-3
110-4 5 0.5 0.05 0.005) 5x10-4) 5x 10-5
6x 10-3 4 0.4 0.04 0.004) 4*10-4| 4x 10-5
7x 10-5 35 0.35 0.035 0.0035 35x 35x
10-4 10-5
4x 10-3 2 0.2 0.02 0.002) 2x10-4| 2x 10-5
2x 10-5 1 0.1 0.01 0.001 | 1x 10-4| 1x 10-3
1.4% 10-* 0.7 0.07 0.007 | 7x 10-4) 7x10-5| 7x 10-6
8x 10-6 0.4 0.04 0.004) 410-4) 4x 40-2| 4x 10-6
7x 10-6 0.35 0.0035 3.5 x 35x 35x
10-4 10-5 10-4
2x10-6 0.1 0.07 0.001! 1x10-4/ 4x10-5| 110-6
1.4 10-4 0.07 0.007 | 7x10-4| 7x10-5| 7% 10-6 7x 10-7
8x 10-7 0.04 0.004) 4x 10-4) 4x10-5| 4% 10-6 4x10-7
7x 10-7 aac 0,035 0.0035 3.5 x 3.5 x 3.5 x 3.5%
10-4 10-5 10-¢ 10-7
2x 10-7 0.01 0.001) 1x10-4/) 1x10-3| 1x10-6] 1% 10-7
1.4% 10-7 0.007 | 7x10-4| 7x10-3| 7x10-0) 7x 10-7) 7x10-"
8x 10-8 0.004| 4x 10-4) 4x 10-5) 4x 10-0 4x10-7| 4x 10-8
7x 10-8 0.0035 35x 3.5 x 3.5 x 3.5 x 3.5 x
10-4 10-4 10-6 10-7 10-4
2x 10-8 0.001) 1x10-4) 1x10-9/ 1x10-6| 4 *x10-7] 1x 10-8
1410-8 7x10-4) 7x 10-3) 7x 10-6] 7% 10-7 7x10-"| 7x 10-9
8x10-* 410-4) 4x%10-3/ 4x10-¢| 4% 10-7 4x10-*/ 4x 10-*
2x 10-* 1x10-4) 110-5) 1x*10-¢| 1x10-7] 1x 10-8 | 1x 10-9
1.4* 10-* 7x10-3|) 7x10-6| 7x10-7) 7x 10-8 7x10-"| 7x 10-10
8x 10-10 410-5) 4x10-8| 410-7! 4x10-8 4x10-% | 4x 10-19
1.4 = 10-1 7x10-*) 7x 10-7) 7x 10-8! 7x 10-9 7% 10719 | 4x 10-1

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TABLE 4—28—TOxICITY/MOBILITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES “—Continued

bins res Bioaccumlation potential factor value
oxicity/mol /persistence r Le

50,000 5,000 500 50 5 05
1.4% 10-1! 7x10-7| 7x10-#) 7x 10-9 | 7x 10-18 | 7x 10-"' | 7x 10-12
1.4™10-!2 710-8 | 7x10-9| 7x10-' | Fx 10-"' | 7x 10-12 | 7x 10-8
0 0 0 0 0 0 0

® Do not round to nearest integer.

4223.2 Population. Evaluate the popu-
lation factor for the watershed based on
three factors: Level I concentrations, Level
Ii concentrations, and potential contamina-
tion. Determine which factor applies to an
intake as specified in section 4.2.2.3. Deter-
mine the population to be counted for that
intake as specified in section 4.1.2.3.2, using
the target distance limits in section 4.2.1.4
and the hazardous substance migration path
in section 4.2.1.2.

4.2.2.3.2.1 Level I concentrations. Assign a
value to this factor as specified in section
4.1,2,3.2.2.

4.2.2.3.2.2 Level IJ concentrations. Assign a
value to this factor as specified in section
4.1,2.3.2.3.

4.2.2.3.2.3 Potential contamination. For each
applicable type of surface water body in
table 414, determine the dilution-weighted
population value as specified in section
4.1.2.3.2.4. Select the appropriate dilution
weight adjustment value from table 4-27 as
apecified in section 4.2.2.3.1.

Calculate the value for the potential con-
tamination factor (PC) for the watershed as
follows:

where:

A = Dilution weight adjustment value from
table 4-27.

W, = Dilution-weighted population from
table 4-14 for surface water body type i.

n = Number of different surface water body
types in the watershed.

If PC is less than 1, do not round it to the
nearest integer; if PC is 1 or more, round to
the nearest integer. Enter the value in table
4-26.

4.2.2.3.2.4 Calculation of population factor
value. Sum the factor values for Level I con-
centrations, Level I concentrations, and po-
tential contamination. Do not round this
sum to the nearest integer. Assign this sum
as the population factor value for the water-
shed. Enter this value in table 4-25.

4.2.2.3.3 Resources. Assign a value to the
resources factor as specified in section
4.1,2.3.8.

4.2.2.3.4 Calculation of drinking water
threat-targets factor category value. Sum the

nearest intake, population, and resources
factor values for the watershed. Do not
round this sum to the nearest integer. Assign
this sum as the drinking water threat-tar-
geta factor category value for the watershed.
Enter this value in table 4-25.

42.2.4 Calculation of drinking water threat
score for a watershed. Multiply the drinking
water threat factor category values for like-
lihood of release, waste characteristics, and
targets for the watershed, and round the
product to the nearest integer. Then divide
by 82,500. Assign the resulting value, subject
to a maximum of 100, as the drinking water
threat score for the watershed. Enter this
score in table 4-25.

4.2.3 Human food chain threat. Evaluate
the human food chain threat for a watershed
based on three factor categories: likelihood
of release, waste characteristics, and targets.

4.2.3.1 Human food chain threat-likelihood
of release. Assigm the same likelihood of re-
lease factor category value for the human
food chain threat for the watershed as would
be assigned in section 4.2.2.1.3 for the drink-
ing water threat. Enter this value in table 4-
25.
4.2.3.2 Human food chain threat-waste char-
acteristics. Evaluate the waste characteristics
factor category for each watershed based on
two factors: toxicity/mobility/persistence/
bioaccumulation and hazardous waste quan-
tity.

4.2.3.2.1 Tozicity/mobility/persistence/bio-
accumulation. Evaluate all those hazardous
substances eligible to be evaluated for tox-
icity/mobility/persistence in the drinking
water threat for the watershed (see section
4,2,2.2.1).

4.2.3.2.1.1 Tozicity. Assign a toxicity factor
value to each hazardous substance as speci-
fied in section 2.4.1.1.

4.2.3.2.1.2 Mobility. Assign a ground water
mobility factor value to each hazardous sub-
stance as specified for the drinking water
threat (see section 4.2.2.2.1.2).

4.2,3.2.1.3 Persistence. Assign a surface
water persistence factor value to each haz-
ardous substance as specified for the drink-
ing water threat (see section 4.2.2,2.1.3), ex-
cept: use the predominant water category
(that is, lakes; or rivers, oceans, coastal
tidal waters, or Great Lakes) between the

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probable point of entry and the nearest, fish-
ery (not the nearest drinking water or re-
sources intake) along the hazardous sub-
stance migration path for the watershed to
determine which portion of table 4-10 to use.
Determine the predominant water category
based on distance as specified in section
4.1,2.2.1,2.

4,.2.3.2.1.4 Bioaccumulation potential. Assign
a bioaccumulation potential factor value to
each hazardous substance as specified in sec-
tion 4.1.3.2.1.3.

4.2.3.2.1.5 Calculation of tozicity/mobility/
persistence/ bioaccumulation factor value. As-
sign each hazardous substance a toxicity/mo-
bility factor value from table 3-9 (section
3.2.1.3), based on the values assigned to the
hazardous substance for the toxicity and mo-
bility factors. Then assign each hazardous
substance a  toxicity/mobility/persistence
factor value from table 4-26, based on the
values assigned for the toxicity/mobility and
persistence factors. Then assign each haz-
ardous substance a toxicity/mobility/persist-
ence/bioaccumulation factor value from
table 4-28. Use the substance with the high-
est toxicity/mobility/persistence/bioaccumu-
lation factor value for the watershed to as-
sign the value to this factor for the water-
shed. Enter this value in table 4-25.

4.2.3.2.2 Hazardous waste quantity. Assign
the same factor value for hazardous waste
quantity for the watershed as would be as-
signed in section 4.2.2.2.2 for the drinking
water threat. Enter this value in table 4-25.

4.2.3.2.3 Calculation of human food chain
threat-waste characteristics factor tegory

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4.2.3.3.1 Food chain individual. Assign a
value to the food chain individual factor as
specified in section 4.1.3.3.1 with the fol-
lowing modification. When a dilution weight
is used, multiply the appropriate dilution
weight from table 4-13 by the adjustment
value selected from table 4-27, as specified in
section 4.2.2.3.1. Use the resulting product,
not the value from table 4-13, as the dilution
weight in assigning the factor value, Do not
round this product to the nearest integer.
Enter the value assigned in table 4-25.

4.2.3.3.2 Population. Evaluate the popu-
lation factor for the watershed based on
three factors: Level I concentrations, Level
II concentrations, and potential human food
chain contamination. Determine which of
these factors is to be applied to each fishery
as specified in section 4.2.3.3.

4.2,3.3.2.1 Level I concentrations. Assign a
value to this factor as specified in section
4,1,3,3.2.1. Enter this value in table 4-25.

4.2.3.3.2.2 Level I concentrations. Assign a
value to this factor as specified in section
4.1.3.3.2.2. Enter this value in table 4-25.

4,.2.3.3.2.3 Potential human food chain con-
tamination. Assign a value to this factor as
specified in section 4.1.3.3.2.3 with the fol-
lowing modification. For each fishery being
evaluated, multiply the appropriate dilution
weight for that fishery from table 4-13 by the
adjustment value selected from table 4-27, as
specified in section 4.2.2.3.1, Use the result-
ing product, not the value from table 4-13, as
the dilution weight for the fishery. Do not
round this product to the nearest integer.
Enter the value assigned in table 4-25,

4.2.3.3.2.4 Calculation of population factor

value. For the hazardous substance selected
for the watershed in section 4.2.3.2.1.5, use its
toxicity/mobility/ persistence factor value
and bioaccumulation potential factor value
as follows to assign a value to the waste
characteristics factor category. First, mul-
tiply the toxicity/mobility/persistence factor
value and the hazardous waate quantity fac-
tor value for the watershed, subject to a
maximum product of 1 x 108, Then multiply
this product by the bioaccumulation poten-
tial factor value for this hazardous sub-
stance, subject to a maximum product of 1 x
102, Based on this second product, assign a
value from table 2-7 (section 2.4.3.1) to the
human food chain threat-waste characteris-
tics factor category for the watershed, Enter
this value in table 4-25.

4.2.3.3 Human food chain threat-targets.
Evaluate two target factors for the water-
shed: food chain individual and population.

For both factors, determine whether the
target fisheries are subject to Level I con-
centrations, Level IZ concentrations, or po-
tential human food chain contamination. De-
termine which applies to each fishery (or
portion of a fishery) as specified in section
4.1.3.3, subject to the restrictions specified in
sections 4.2.1.3 and 4.2.1.4.

value. Sum the factor values for Level I con-
centrations, Level II concentrations, and po-
tential human food chain contamination for
the watershed. Do not round this sum to the
nearest integer. Assign this sum as the popu-
lation factor value for the watershed. Enter
this value in table 4-25.

4.2.3.3.3 Calculation of human food chain
threat-targets factor category value. Sum the
food chain individual and population factor
values for the watershed. Do not round this
sum to the nearest integer. Assign this sum
as the human food chain threat-targets fac-
tor category value for the watershed. Enter
this value in table 4-25.

4.2.3.4 Calculation of human food chain
threat score for a watershed. Multiply the
human food chain threat factor category val-
ues for likelihood of release, waste charac-
teristics, and targets for the watershed, and
round the product to the nearest integer,
Then divide by 82,500. Assign the resulting
value, subject to a maximum of 100, as the
human food chain threat score for the water-
shed, Enter this score in table 4-25.

4.2.4 Environmental threat. Evaluate the
environmental threat for the watershed
based on three factor categories: likelihood
of release, waste characteristics, and targets.

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4.2.4.1 Environmental threat-likelihood of re-
lease. Assign the same likelihood of release
factor category value for the environmental
threat for the watershed as would be as-
signed in section 4.2.2.1.3 for the drinking
water threat. Enter this value in table 4-25.

4.2.4.2 Environmental threat-waste charac-
teristics. Evaluate the waste characteristics
factor category for each watershed based on
two factors: ecosystem toxicity/mobility/per-

sistence/bicaccumulation and hazardous
waste quantity.
4.2,4.2.1 Ecosystem  toxicity/mobility/persist-

ence/bioaccumulation. Evaluate all those haz-
ardous substances eligible to be evaluated
for toxicity/mobility/persistence in the
drinking water threat for the watershed (see
section 4,2.2,2.1).

4.2.4,2.1.1 Ecosystem toxicity, Assign an eco-
system toxicity factor value to each haz-
ardous substance as specified in section
4.1.4,2.1,1.

4.24.2.1.2 Mobility. Assign a ground water
mobility factor value to each hazardous sub-
stance as specified in section 4.2.2.2.1.2 for
the drinking water threat.

4.2.4.2.1.3 Persistence. Assign a surface
water persistence factor value to each haz-
ardous substance as specified in section
4.2.2.2.1.3 for the drinking water threat, ex-
cept: use the predominant water category
(that is, lakes; or rivers, oceans, coastal
tidal waters, or Great Lakes) between the
probable point of entry and the nearest sen-

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sitive environment (not the nearest drinking
water or resources intake) along the haz-
ardous substance migration path for the wa-
tershed to determine which portion of table
4-10 to use. Determine the predominant
water category based on distance as specified
in section 4.1.2.2.1.2.

4.2.4,.2.1.4 Ecosystem bioaccumulation poten-
tial. Assign an ecosystem bioaccumulation
potential factor value to each hazardous sub-
stance as specified in section 4.1.4.2.1.3.

4.2.4.3.1.5 Calculation of ecosystem toricity/
mobility/nersistence/ bioaccumulation factor
value. Assign each hazardous substance an
ecosystem toxicity/mobility factor value
from table 3-9 (section 3.2.1.3), based on the
values assigned to the hazardous substance
for the ecosystem toxicity and mobility fac-
tors. Then assign each hazardous substance
an ecosystem toxicity/mobility/persistence
factor value from table 4-29, based on the
values assigned for the ecosystem toxicity/
mobility and persistence factors. Then as-
sign each hazardous substance an ecosystem
toxicity/mobility/persistence/bioaccumula-
tion factor value from table 4-30, based on
the values assigned for the ecosystem tox-
icity/mobility/persistence and ecosystem bio-
accumulation potential factors. Select the
substance with the highest ecosystem tox-
icity/mobility/persistence/bioaccumulation
factor value for the watershed and use it to
assign the value to this factor for the water-
shed. Enter this value in table 4-25.

TABLE 4—29—EcosyYSTEM TOXxIcITy/MOBILITY/PERSISTENCE FACTOR VALUES“

Ecosystem toxicity/mobility factor value a =e
1.0 04 0.07 0.0007
10,000 10,000 4,000 700 7
2,000 2,000 800 140 1.41,000
1,000 1,000 400 70 0.7
200 200 80 14 0.14
100 100 40 7 0.07
20 20 8 1.4 0.014
10 10 4 07 0.007
2 2 0.8 0.14 0.0014
1 1 04 0.07 7x 10-4
o2 0.2 0.08 0.014 | 1.4 10-4
0.1 O41 0.04 0.007 7x 10-5
02 0.2 0.008 0.0014 | 1.41073
0.01 0.01 0.004 7x 10-4 7x 10-6
0.002 0.002} 8x10-*| 14x10-*| 14x 10-6
0.001 0.001 | 4x 10-4 7x* 10-4 7x 1077
2x10-4 2x10-4| &x10-5| 1410-5) 1410-7
1x10-4 1x10-4|) 4x 10-4 7x 10-* 7x 10-8
2x 107-3 2x10-5|) @x10-@) 1410-8) 1410-8
2x 10-6 2x10-*) &x10-7) 14x10-7|) 14x10-*
2x 10-7 2x10-7/ 8x10-®| 1.4x10-"8| 1.4 10-1"
2x 10-8 2x10-*) 8x10") 1410-9) 1410-0
2x 107% 2x10-9|8x10- | 14107!) 1410-12
0 0 0 0 0

® Do not round to nearest integer.

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TABLE 4~-30—EcosysTEem TOXICITY/MOBILITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES“

Ecosystem toxicity/mobility/persistence factor value

Ecosystem bioaccumulation potential factor value

50,000 5,000 500 50 5 05
10,000 5 x 108 5x 107 5x 108 5x 108 5 x 10+ 5,000
4,000 2x 108 2x 107 2x 104 2x10 2x 104 2,000
2,000 1, x 108 1x 107 1x 108 1x 105 1x 104 7,000
1,000 5 x 107 5x 108 5x 108 Sx 104 5,000 500
800 4x 107 4x 106 4x08) 4x 104 4,000 400
700 35x10?) 35x10") 35x10) 35x 104 3,500 350
400 2x 107 2x 108 2x16 2x 104 2,000 200
200 1x 107 1x 108 1x 108 1x 104 1,000 100
140 7 108 7x 105 7x10 7,000 700 70
100 5x 108 5x 10 5 x 104 5,000 500 50
80 4x 108 4x105| 4x 10+ 4,000 400 40
70 35x 10°) 35109) 35x 104 3,500 350 35
40 2x 108 2x 108 2x 104 2,000 200 20
20 1x 100 1x 108 1x 104 1,000 100 10
14 7x 108 7x10 7,000 700 70 7
10 5x 105 5x 104 §,000 500 50 5
8 4x108) 4x 104 4,000 400 40 4
7 3.5x 105) 3.5.x 104 3,500 350 35 3.5
4 2x 105 2x 104 2,000 200 20 2
2 1x 105 1x 104 1,000 100 10 1
14 7x 104 7,000 700 70 7 O7
1.0 5 x 104 5,000 500 50 5 0.5
0.8 4x 104 4,000 400 40 4 04
07 3.5 x 104 3,500 350 35 3.5 0.35
0.4 2x 104 2,000 200 20 2 02
02 1x 104 1,000 100 10 1 O41
0.14 7,000 700 70 7 0.7 0.07
01 5,000 500 50 5 05 0.05
0.08 4,000 400 40 4 04 0,04
0,07 3,500 350 35 35 0.35 0.035
0.04 2,000 200 20 2 02 0.02
0.02 1,000 100 10 1 041 0.01
0.014 700 70 7 0.7 0.07 0.007
0.01 500 50 5 05 0,05 0.005
0.008 400 40 4 0.4 0.04 0,004
0.007 350 35 35 0.35 0.035 0.0035
0.004 200 20 2 02 0.02 0.002
0.002 100 10 1 0.1 0.01 0.001
0.0014 70 7 07 0.07 0,007 | 7x 10-4
0,001 50 5 05 0.05 0.005; 510-4
8x 10-4 40 4 0.4 0.04 0.004) 4x 10-«
7x 10-4 35 35 0.35 0.0035 3.5 *
10-4
410-4 20 2 0.2 0.02 0.002) 2x 10-4
2x 10-4 10 1 0.1 0.01 0.001; 1x10-4
14x 107¢* 7 0.7 0.07 0.007 | 7x 10-4) 7x 1075
110-4 5 05 0.05 0.005| 5x 10-4) 5x 10-3
8x 1073 4 04 0.04 0.004; 4x 10-4) 4x 10-5
7x 10-3 3.5 0.35 0.035 0.0035, 3.5 x 35x
10-4 10-5
4x 10-5 2 02 0.02 0.002 | 2x10-4| 2x 10-5
2x 1075 1 0.1 0.01 0.001) 1x 10-4) 1x 10-3
1.4 x 10-5 07 0.07 0.007 | 7x 10-4! 7x10-4| 7x 10-6
8x 10-64 04 0.04 0,004) 4x10-4*) 4x10-5| 4x 10-6
7 x 10-6 0,35 0.035 0.0035 3.5 x 35x 3.5 x
10-4 10-5 10-6
2x 10-6 01 0.01 0.001) 1x 10-4) 1x10-5| 1x 10-0
14 10-¢ 0,07 0.007 | 7x10-*) 7x10-3| 7x10-¢| 7x 10-7
6x 10-7 0.04 0.004) 4x10-*| 4x10-5| 4x 10-6 4x10-7
7x10-7 0,035 00,0035 3.5 x 3.5 x 3.5 x 35x
10-4 10-5 10-5 10-7
2x 10-7 0.01 0.001) 110-4) 1x10-5| 1x10-6| 110-7
1.4 10-7 0.007 | 7x10-4| 7x 10-3) 7x 10-6! 7% 10-7! 7% 10-2
8x 10-8 0.004) 4%10-*) 4x10-5| 4x10-6| 4x10-7| 4x 10-3
7x 10-8 0.0035 3.5 x 3.5 x 3.5 x 3.5% 3.5%
10-4 10-5 10-« 10-7 10-*
2x 10-48 0.001) 1x 10-4) 1x10-5| 1x10-*) 1x10-7| 1x 10-2
14x 10-* 710-4) 7x10-3| 7x10-§| 7x10-7| 7%10-"| 7x 10-*
8x 10-% 410-4) 4x10-$) 4x 10-6] 4x 10-7) 4x10-"| 4x 40-%
210-9 1x10-41 1x10-3! 4x%10-8! 1%40-7/ 4 x10-*! 1x10-*

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TABLE 4—30—ECOSYSTEM TOXICITY/MOBILITY/PERSISTENCE/BIOACCUMULATION FACTOR VALUES “—
Continued

Ecosy bi potential factor value
E y/mability/p factor value
50,000 5,000 500 50 5 05
14x 10-* 7x10-3| 7x10-*| 7x10-7| 7x10-") 7x 10-9] 7x 10-9
8x 10-' 410-3) 4x10-¢) 410-7) 410-8) 4x 10-9) 4x 10-1
1.4.x 10-10 7x10-8| 7x10-7| 7x 10-8) 7x10-9| 7x 10-18 | 7x 10-"
1410-1 7x10-7! 7x 10-8) 7x10-9| 7x 10-' | 7x 10-" | 7x 10-12
1.4x10-" 710-8 | 7x1079 | 7x 10-9 | 7x 0-1! | 7x 107") 7x 10-3
0 oO 0 0 0 0 0

© Do not round to nearest integer.

4.2.4.2.2 Hazardous waste quantity. Assign
the same factor value for hazardous waste
quantity for the watershed as would be as-
signed in section 4.2.2.2.2 for the drinking
water threat, Enter this value in table 4-25.

4.2.4.2.3 Calculation of environmental
threat-waste characteristics factor category
value. For the hazardous substance selected
for the watershed in section 4.2.4.2.1.5, use its
ecosystem toxicity/mobility/persistence fac-
tor value and ecosystem bioaccumulation
potential factor value as follows to assign a
value to the waste characteristics factor cat-
egory. First, multiply the ecosystem tox-
icity/mobility/persistence factor value and
the hazardous waste quantity factor value
for the watershed, subject to a maximum
product of 1x 10°. Then multiply this product
by the ecosystem bioaccumulation potential
factor value for this hazardous substance,
subject to a maximum product of 1 x 10%.
Based on this product, assign a value from
table 2-7 (section 2.4.3.1) to the environ-
mental threat-waste characteristics cat-
egory for the watershed. Enter the value in
table 4-25.

42.4.3 Environmental threat-targets. Evalu-
ate the environmental threat-targets factor
category for a watershed using one factor:
sensitive environments,

4.2.4.3.1 Sensitive environments. Evaluate
sensitive environments for the watershed
based on three factors: Level I concentra-
tions, Level IT concentrations, and potential
contamination, Determine which applies to
each sensitive environment as specified in
section 4,1.4.3.1, except: use only those sam-
ples from the surface water in-water segment
and only those hazardous substances in such
samples that meet the conditions in sections
4.2.1.3 and 4.2.1.4,

4.2.4.3.1,1 Level I concentrations. Assign a
value to this factor as specified in section
4.1.4.3.1,1, Enter this value in table 4-25,

4.2.4.3.1.2 Level II] concentrations. Assign a
value to this factor as specified in section
4.1.4.3.1.2, Enter this value in table 4-25.

4.2.4.3.1.3 Potential contamination. Assign a
value to this factor as specified in section
4.143.138 with the following modification.
Multiply the appropriate dilution weight

from table 4-13 for the sensitive environ-
ments in each type of surface water body by
the adjustment value selected from table 4-
27, as specified in section 4.2.2.3.1. Use the re-
sulting product, not the value from table 4-
13, as the dilution weight for the sensitive
environments in that type of surface water
body. Do not round this product to the near-
est integer. Enter the value assigned in table
4-25.

4.2.4.3.14 Calculation of environmental
threat-targets factor category value. Sum the
values for Level I concentrations, Level I
concentrations, and potential contamination
for the watershed. Do not round this sum to
the nearest integer. Assign this sum as the
environmental threat targets factor cat-
egory value for the watershed. Enter this
value in table 4-25.

4.2.44 Calculation of environmental threat
score for a watershed. Multiply the environ-
mental threat factor category values for
likelihood of release, waste characteristics,
and targets for the watershed, and round the
product to the nearest integer. Then divide
by 82,500. Assign the resulting value, subject
to a maximum of 40, as the environmental
threat score for the watershed. Enter this
score in table 4-25.

4.2.5 Calculation of ground water to surface
water migration component score for a water-
shed. Sum the scores for the three threats for
the watershed (that is, drinking water,
human food chain, and environmental
threats). Assign the resulting score, subject
to a maximum value of 100, as the ground
water to surface water migration component
acore for the watershed. Enter this score in
table 4-25.

4.2.6 Calculation of ground water to surface
water migration component score. Select the
highest ground water to surface water mi-
gration component score from the water-
sheds evaluated. Assign this score as the
ground water to surface water migration
component score for the site, subject to a
maximum score of 100. Enter this score in
table 4-25.

4.3 Calculation of surface water migration
pathway score. Determine the surface water
migration pathway score as follows:

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e If only one of the two surface water mi-
gration components (overland/flood or
ground water to surface water) is scored, as-
sign the score of that component as the sur-
face water migration pathway score.

* If both components are scored, select the
higher of the two component scores from sec-
tions 4.1.6 and 4.2.6. Assign that score as the
surface water migration pathway score.

5.0 Som EXPOSURE AND SUBSURFACE
INTRUSION PATHWAY

6.0.1 Exposure components. Evaluate the
soil exposure and subsurface intrusion path-
way based on two exposure components:

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« Soil exposure component (see section
6.1).

« Subsurface intrusion component (see sec-
tion 5.2),

Score one or both components considering
their relative importance. If only one compo-
nent is scored, assign its score as the soil ex-
posure and subsurface intrusion pathway
score. If both components are scored, sum
the two acores and assign it as the soil expo-
sure and subsurface intrusion pathway score,
subject to a maximum of 100,

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Figure 5-1 Overview of the Soil Exposure and Subsurface Intrusion Pathway

Likelihood of Exposure (LE)

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Waste Characteristics (WC) Targets (T)
Resident Obsarved Contaminalian Toxicity Reeidant Individual
Population Area with Resident X | Chronic X__ Resident Population
Targets © = Carcinogenic » Laval | Concentrations
. « Level ll Concentrations
Hazardous Waste Quantity Workers
« Hazardous Constitvent Quantity Resources
»* Hazardous Wastestream Quantity Sensitive
Soll Exposure * Area
Component + = —
Likelinood of Exposure (LE) Waste Characteristics (WC) Targets (T)
: = — =
Nearby Population A x re ae | X |Population Within One Mite
Area of Contamination » Carcinogenic
s Acute — ee —_ il
Hazardous Waste Quantity
= « = Hagardous Constituent Quantity
« Hazardous Wastestream Quantity
« Volume
« Area
Likelihood of Exposure (LE) Waste Characteristics (WC) Targets (T)
i Toxicity Exposed Individual
Potential for Exposure x! Chronic X [Population
Subsurface Intrusion «Structure Containment * — Carcinogenic « Level | Concentrations
* Depth to Contamination * Acute « ~— Level I! Concentrations
* Vertical Migration Degradation « Population on ASC
+ Vapor Migration Potential | Hazardous Waste Quantity |
«» Hazardous Constituent Quantity
| Ls * Hazardous Wastestream Quantity

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factors included within each factor category
for each type of threat.

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Determine the soil exposure component
score (S,..) in terms of the factor category
values as follows:

Yie1 (LE;) (WC) (T;)

Sse =

Where:

LE; = Likelihood of exposure factor category
value for threat i (that is, resident popu-
lation threat or nearby population
threat).

WC; = Waste characteristics factor caterory
value for threat i.

SF

< factor category value for threat

SFr=  waiee factor.

Table 5-1 outlines the specific calculation
procedure.

TABLE 5—1—Soi EXPOSURE COMPONENT SCORESHEET

Factor categories and factors

Value

Maximum
value assigned

Resident Population Threat

Likelihood of Exposure:
4. Likelihood of Exp

Waste Characteristics:
2. Toxicity

3. Hazardous Waste Quantity

4. Waste Characteristics

Targets:
5. Resident

6. Resident Population:.
6a, Level | G

6b, Level II C

6c. Resident Population (lines 6a + 6b)

7. Wi

8. Resources

9. Terrestrial Sensitive E

10. races (ines § +00 75.840)

Resident Population Threat Score:
11. Resident Population Threat (lines 1 x 4x 10)

Nearby Population Threat

Likelihood of Exposure:
12. Attracti

13. Area of Contamination

44, Likelihood of Exp

Waste Characteristics:
15. Toxicity

16, Hazardous Waste Quantity

17. Waste Ct ni

Targets:
18. Nearby Individual

19, Population Within 1 Mile

20. Targets (lines 18 + 19)

Nearby Population Threat Score:

21. Nearby Population Threat (lines 14 x 17 x 20)
Soil Exposure Component Score:

22. Soll Exposure Component Score? (5,.), (lines [11 + 21]/62,500, subject to a

of 100)

® Maximum value applies 1o waste characteristics category.
’Maximum value not applicable.

No specific maximum value applies to factor. However, pathway scora based solely on terrestrial sensitive environments is

limited to maximum of 60.
%Do not round to nearest integer.

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5.1.0 General considerations. Evaluate the
soil exposure component based on areas of
observed contamination:

« Consider observed contamination to be
present at sampling locations where analytic
evidence indicates that:

-—-A hazardous substance attributable to the
site is present at a concentration signifi-
cantly above background levels for the site
(see Table 2-3 in section 2.3 for the criteria
for determining analytical significance),
and

—This hazardous substance, if not present at
the surface, is covered by 2 feet or less of
cover material (for example, soil).

« Establish areas of observed contamina-
tion based on sampling locations at which
there is observed contamination as follows:
—For all sources except contaminated soil, if

observed contamination from the site is

present at any sampling location within
the source, consider that entire source to
be an area of observed contamination.

—For contaminated soil, consider both the
sampling location(s) with observed con-
tamination from the site and the area
lying between such locations to be an area
of observed contamination, unless avail-
able information indicates otherwise.

e If an area of observed contamination (or
portion of such an area) is covered by a per-
manent, or otherwise maintained, essen-
tially impenetrable material (for example,
asphalt) that is not more than 2 feet thick,
exclude that area (or portion of the area) in
evaluating the soi] exposure component.

e For an area of observed contamination,
consider only those hazardous substances
that meet the criteria for observed contami-
nation for that area to be associated with
that area in evaluating the soil exposure
component (see section 2.2.2).

If there is observed contamination, assign
scores for the resident population threat and
the nearby population threat, as specified in
sections 5.1.1 and 5.1.2. If there is no observed
contamination, assign the soil exposure com-
ponent of the soil exposure and subsurface
intrusion pathway a score of 0.

5.1.1 Resident population threat. Bvaluate
the resident population threat only if there
is an area of observed contamination in one
or more of the following locations:

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* Within the property boundary of a resi-
dence, school, or day care center and within
200 feet of the respective residence, school, or
day care center, or

e Within a workplace property boundary
and within 200 feet of a workplace area, or

« Within the boundaries of a resource spec-
ified in section 5.1.1.3.4, or

e Within the boundaries of a terrestrial
sensitive environment specified in section
6.1.1.3.5.

If not, assign the resident population
threat a value of 0, enter this value in Table
5-1, and proceed to the nearby population
threat (section 5.1.2).

5.1.1.1 Likelihood of ezposure. Assign a
value of 550 to the likelihood of exposure fac-
tor category for the resident population
threat if there is an area of observed con-
tamination in one or more locations listed in
section 5.1.1. Enter this value in Table 5-1.

5.1.1.2 Waste characteristics. Evaluate
waste characteristica based on two factors:
toxicity and hazardous waste quantity.
Evaluate only those hazardous substances
that meet the criteria for observed contami-
nation at the site (see section 5.1.0).

§.1.1,2.1 Toricity. Assign a toxicity factor
value to each hazardous substance as speci-
fied in section 2.4.1.1. Use the hazardous sub-
stance with the highest toxicity factor value
to assign the value to the toxicity factor for
the resident population threat. Enter this
value in Table 5-1.

§.1.1.2.2 Hazardous waste quantity. Assign a
hazardous waste quantity factor value as
specified in section 2.4.2. In estimating the
hazardous waste quantity, use Table 5-2 and:

» Consider only the first 2 feet of depth of
an area of observed contamination, except as
specified for the volume measure.

e Use the volume measure (see section
2.4.2.1.3) only for those types of areas of ob-
served contamination listed in Tier C of
Table 5-2. In evaluating the volume measure
for these listed areas of observed contamina-
tion, use the full volume, not just the vol-
ume within the top 2 feet.

«Use the area measure (see section
2.4.2.1.4), not the volume measure, for all
other types of areas of observed contamina-
tion, even if their volume is known.

Enter the value assigned in Table 5-1.

TABLE 5-2—HAZARDOUS WASTE QUANTITY EVALUATION EQUATIONS FOR SOIL EXPOSURE

COMPONENT
Equation for
Tier Measure Units assigning
value®

Ao. . | Hazardous Constituent Quantity (C) Ib c.
Be Hi wi Quantity (W) Ib W/5,000.
CP... . | Volume (V).

Surface Impoundment= yc? v2.5,

Orums? gallon ‘V/S00.

Tanks and Containers Other Than Drums yd4 vi2S.

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TABLE 5-2—HAZARDOUS WASTE QUANTITY EVALUATION EQUATIONS FOR SOIL EXPOSURE
COMPONENT—Continued
Equation for
Tier Measure Units
value®
Die Area (A).
Landfill ht? A/34,000.
Surface Impoundment ft? A/13,
Surface Impoundment (Buried/backfilled) ft2 A3.
Land ft? 4/270.
Fass ft? AISA,
Contaminated Soil ft? A/34,000.
“Do not round nearest

*Convert volume to mass when necessary:
© Use land surface area under pile, not surface area of pile.

6.1.1.2.3 Calculation of waste characteristics
factory category value. Multiply the toxicity
and hazardous waste quantity factor values,
subject Lo a maximum product of 1 = 10%,
Based on this product, assign a value from
Table 2-7 (section 2.4.3.1) to the waste char-
awteristics factor category. Enter this value
in Table 5-1,

5.1.1.3 Targets. Evaluate the targets factor
category for the resident population threat
hased on five factors: Resident (ndividual,
resident population, workers, resources, and
terrestrial sensitive environments.

In evaluating the Largets factor category
for the resident population threat, count
only the following as targets:

« Resident individual—a person living or
attending school or day care on a property
with an area of observed contamination and
whose residence, school, or day care center,
respectively, is on or within 200 feet of the
area of observed contamination,

* Worker—a person working on a property
with an area of observed contamination and
whose workplace area is on or within 200 feet
of the area of observed contamination.

« Resources located on an area of observed
contamination, as specified in section 5.1.1.

« Terrestrial sensitive environments lo-
cated on an area of observed contamination,
as specified in section 5.1.1.

5.1.1.3.1 Resident individual. Evaluate this
factor based on whether there is a resident

individual, as specified In section §,1.1,3, whe
is subject to Level I or Level IT concentra-
tions.

First, determine those areas of observed
contamination subject to Level I concentra-
tions and those subject to Level DT oon-
centrations as specified In sections 2.5.1 and
2.5.2. Use the health-based benchmarks from
Table 5-3 in determining the level of con-
tamination. Then assign a valué to the resi-
dent Individual factor as follows:

* Assign a value of 50 if there is al least
one resident Individual for one or more areas
subject to Level I concentrations

« Assign a Value of 45 if there is no such
resident Individuals, but there ls at least one
resident individual for one of more areas
subject to Level I concentrations,

* Agsion a value of 0 if there is no resident
individual.

Enter the value assigned in Table 6-1.

6.1.1,3.2 Resident population, Evaluate resi-
dent population based on two factors: Level
Leoncentretions and Level I concentrations.
Determine which factor applies as specified
in sections 2.5.1 and 2.5.2, using the health-
based benchmarks from Table 5-3. Evaluate
populations subject to Level I concentra-
tions as specified in section 5.1.1.3.2.1 and
populations subject to Level 0 concentra-
tions as specified in section 5.1.1.3.2.2.

TABLE 5—3—HEALTH-BASED BENCHMARKS FOR HAZARDOUS SUBSTANCES IN SOILS

Screening concentration for cancer corresponding to that concentration that corresponds to the 10° individual cancer risk for

‘oral exposures,
Screening concentration for noncancer toxicological responses

ding to the F Dose (RID) for oral exposures.

Count only those persons meeting the cri-
teria for resident individual as specified in
section 5.1.1.3. In estimating the number of
people living on property with an area of ob-

served contamination, when the estimate is
baged on the number of residences, multiply

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each residence by the average number of per-
sons per residence for the county in which
the residence is located.

5.1,1.3.2.1 Level I concentrations. Sum the
number of resident individuals subject to
Level I concentrations and multiply this
sum by 10. Assign the resulting product as
the value for this factor. Enter this value in
Table 5-1.

5.1.1.3.2.2 Level I concentrations. Sum the
number of resident individuals subject to
Level II concentrations, Do not include those
people already counted under the Level I
concentrations factor. Assign this sum as
the value for this factor. Enter this value in
Table 5-1,

§.1.1.3.2.3 Calculation of resident population
factor value. Sum the factor values for Level
I concentrations and Level I concentrations.
Assign this sum as the resident population
factor value, Enter this value in Table 5-1,

5.1.1.3.3 Workers. Evaluate this factor
based on the number of workers that meet
the section 5.1.1.3 criteria. Assign a value for
these workers using Table 54. Enter this
value in Table 5-1.

ES

Where:

8; = Value(s) assigned from Table 5-5 to ter-
restrial sensitive environment 1.

n = Number of terrestrial sensitive environ-
ments meeting section 5.1.1.3 criteria.

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TABLE 5—4—FACTOR VALUES FOR WORKERS
Assigned
value

Number of workers

0 0
1 bo 100 5
101 to 1,000 10
Greater thar 1,000 ......csccssessesessnssnssnssessesesseeen 15

6.1.1.3.4 Resources. Evaluate the resources
factor as follows:

« Assign a value of 5 to the resources fac-
tor if one or more of the following is present
on an ares. of observed contamination at the
site:

—Commercial agriculture.

—Commercial silviculture.

—Commercial livestock production or com-
mercial livestock grazing.

« Assign a value of 0 if none of the above
are present.

Enter the value assigned in Table 5-1.

6.1.1.3.5 Terrestrial sensitive environments.
Assign value(s) from Table 5-5 to each terres-
trial sensitive environment that meets the
eligibility criteria of section 5.1.1.3.

Calculate a value (BS) for terrestrial sen-
sitive environments as follows:

Because the pathway score based solely on
terrestrial sensitive environments is limited
to a maximum of 60, determine the value for
the terrestrial sensitive environments factor
as follows:

TABLE 5-5—TERRESTRIAL SENSITIVE ENVIRONMENTS RATING VALUES

Terrestrial sensitive environments

“ah

Terrestrial critical habitat® for Federal designated endangered or threatened speci

National Park
Area

100

Designated Federal Wild:
National Monument.

Terrestrial habitat known to be used by Federal designated or proposed threatened or endangered species

National Preserve (terrestrial)
National or State Terrestrial Wildlife Refuge

75

Federal land designated for protection of natural ecosystems

Area

Administratively proposed Federal Wild

Terrestrial areas utilized for breeding by large or danse aggregations of animals».
Terrestrial habitat known to be used by State designated endangered or threatened species .............
Terrestrial habitat known to be used by species under review as to its Federal designated endangered

or threatened status
State lands designated for wildlife or game management

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Stale designated Natural Areas

Particular areas, relatively smail in size, important to maintenance of unique biotic communities.

“Critical habital as defined in 50 CFR 424.02.
Limit to vertebrate species.

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« Multiply the values assigned to the resi-
dent population threat for likelihood of ex-
posure (LE), waste characteristics (WC), and
ES. Divide the product by 82,500.

EC =

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—If the result is 60 or less, assign the value
ES as the terrestrial sensitive environ-
ments factor value.

—If the result exceeds 60, calculate a value
EC as follows:

__ (60)(82,500)

(LE)(WC)

Assign the value EC as the terrestrial sen-
sitive environments factor value. Do not
round this value to the nearest integer.

Enter the value assigned for the terrestrial
sensitive environments factor in Table 6-1.

6.1.1.3.6 Calculation of resident population
targets factor category value: Sum the values
for the resident individual, resident popu-
lation, workers, resources, and terrestrial
sensitive environments factors. Do not round
to the nearest integer. Assign this sum as
the targets factor category value for the
resident population threat. Enter this value
in Table 5-1.

5.1.1.4 Calculation of resident population
threat score. Multiply the values for likeli-
hood of exposure, waste characteristics, and
targets for the resident population threat,
and round the product to the nearest integer.
Assign this product as the resident popu-
lation threat score. Enter this score in Table
5&1,

5.1.2 Nearby population threat. Include in
the nearby population only those individuals
who live or attend school within a 1-mile
travel distance of an area of observed con-
tamination at the site and who do not meet

the criteria for resident individual as speci-
fied in section 5.1.1.3.

Do not consider areas of observed contami-
nation that have an attractiveness/accessi-
bility factor value of 0 (see section 5.1.2.1,1)
in evaluating the nearby population threat.

6.1.2.1 Likelihood of exposure. Evaluate two
factors for the likelihood of exposure factor
category for the nearby population threat:
attractiveness/accessibility and area of con-
tamination.

6.1.2.1.1 <Attractiveness/accessibility, Assign
a value for attractiveness/accessibility from
Table 5-6 to each area of observed contami-
nation, excluding any land used for resi-
dences. Select the highest value assigned to
the areas evaluated and use it as the value
for the attractiveness/accessibility factor.
Enter this value in Table 5-1.

6.1,2.1.2 Area of contamination, Evaluate
area of contamination based on the total
area of the areas of observed contamination
at the site. Count only the area(s) that meet
the criteria in section 5.1.0 and that receive
an attractiveness/accessibility value greater
than 0. Assign a value to this factor from
Table5-7. Enter this value in Table 5-1.

TABLE 5-6—ATTRACTIVENESS/ACCESSIBILITY VALUES

Area of observed contamination Maes
Designated | area 100
Regularty used for public recreation (for example, fishing, hiking, softball) 75
Accessible and unique recreational area (for example, vacant lots in urban area) 75
Moderately accessible (may have some access imp ents, for ple, gravel road), with some public
ion use 50
Slightly ible (for ph ly rural area with no road improvement), with some public recreation
use 25
Accessible, with no public recreation use 10
Surrounded by maintained fence or combination of maintained fence and natural barr 5
Physically inaccessible to public, with no evid of public tion use 0
TABLE 5-7—AREA OF CONTAMINATION FACTOR VALUES
Tolal area of the areas of contami (square fee!) Assimied
Less than or equal to 5,000 5
Greater than 5,000 to 125,000 20
Greater than 125,000 to 250,000 40
Greater than 250,000 to 375,000 60
Greater than 375,000 to 500,000 80
Greater than 500,000 100

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6.1.2.1.8 Likelihood of exposure factor cat-
egory value. Assign a value from Table 5-8 to
the Likelihood of exposure factor category,
based on the values assigned to the

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attractiveness/accessibility and area of con-
tamination factors. Enter this value in Table
5-1.

TABLE 5-8—NEARBY POPULATION LIKELIHOOD OF EXPOSURE FACTOR VALUES

Area of contamination factor Attractiveness/accessibility factor value
yeu 100 75 50 25 10 5 0

100 500 500 375 250 125 50 0
80 500 375, 250 125 50 25 0
60 375 250 125 50 25 5 0
40 250 125 50 25 6 5 0
20 125 50 25 5 5 5 0
5 50 25 5 5 5 5 0

6.1.2.2 Waste characteristics. Evaluate school to the nearest area of observed con-

waste characteristics based on two factors:
toxicity and hazardous waste quantity.
Evaluate only those hazardous substances
that meet the criteria for observed contami-
nation (see section 5.1.0) at areas that can be
assigned an attractiveness/accessibility fac-
tor value greater than 0.

5.1.2.2.1 Tozicity. Assign a toxicity factor
value as specified in section 2.4.1.1 to each
hazardous substance meeting the criteria in
section 5.1.2.2, Use the hazardous substance
with the highest toxicity factor value to as-
sign the value to the toxicity factor for the
nearby population threat. Enter this value in
Table 5-1,

§.1.2.2.2 Hazardous waste quantity. Assign a
value to the hazardous waste quantity factor
as specified in section 5.1.1.2.2, except: con-
sider only those areas of observed contami-
nation that can be assigned an
attractiveness/accessibility factor value
greater than 0. Enter the value assigned in
Table 5-1.

6.1.2,.2.3 Calculation of waste characteristics
factor category value. Multiply the toxicity
and hazardous waste quantity factor values,
subject to a maximum product of 1 x 10°.
Based on this product, assign a value from
Table 2-7 (section 2.4.3.1) to the waste char-
acteristics factor category. Enter this value
in Table 5-1.

5.1.2.3 Targets. Evaluate the targets fac-
tory category for the nearby population
threat based on two factors: mearby indi-
vidual and population within a 1-mile travel
distance from the site.

6.1.2.3.1 Nearby individual. If one or more
persons meet the aection 5.1.1.3 criteria for a
resident individual, assign this factor a value
of 0. Enter this value in Table 5-1.

If no person meets the criteria for a resi-
dent individual, determine the shortest trav-
el distance from the site to any residence or
school. In determining the travel distance,
measure the shortest overland distance an
individual would travel from a residence or

tamination for the site with an
attractiveness/accessibility factor value
greater than 0, If there are no natural bar-
riers to travel, measure the travel distance
as the shortest straight-line distance from
the residence or school to the area of ob-
served contamination. If natural barriers
exist (for example, a river), measure the
travel distance as the shortest straight-line
distance from the residence or school to the
nearest crossing point and from there as the
shortest straight-line distance to the area of
observed contamination. Based on the short-
est travel distance, assign a value from
Table 6-9 to the nearest individual factor.

Enter this value in Table 5-1.
TABLE 5—9—NEARBY INDIVIDUAL FACTOR
VALUES
Travel distance for Assi
individual (miles) i =
Greater than 0 to 14 aq
(Greater than 4 to 1 0

4 Assign a value of 0 if one or more persons meet the sec-
tion 5.1.1.3 criteria for resident individual,

6.1.2.3.2 Population within 1 mile. Deter-
mine the population within each travel dis-
tance category of Table 6-10. Count residents
and students who attend school within this
travel distance. Do not include those people
already counted in the resident population
threat. Determine travel distances as speci-
fied in section 5.1.2.3.1.

In estimating residential population, when
the estimate is based on the number of resi-
dences, multiply each residence by the aver-
age number of persons per residence for the
county in which the residence is located,

Based on the number of people included
within a travel distance category, assign a
distance-weighted population value for that
travel distance from Table 5-10.

Calculate the value for the population
within 1 mile factor (PN) as follows:

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Where:

Wi=Distance-weighted population value from

Table 5-10 for travel distance category i.

If PN is leas than 1, do not round it to the

nearest integer; if PN is 1 or more, round to

the nearest integer. Enter this value in
Table 5-1.

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5.1.2.3.3 Calculation of nearby population
targets factor category value. Sum the values
for the nearby individual factor and the pop-
ulation within 1 mile factor. Do not round
this sum to the nearest integer. Assign this
sum as the targets factor category value for
the nearby population threat. Enter this
value in Table 5-1.

TABLE 5-10—DISTANCE WEIGHTED POPULATION VALUES FOR NEARBY POPULATION THREAT“

avalide: Number of people within the travel distance category

tance cat-

egary o | 11 | 14t0 | 3120 | 101 t0| 901 to %001 | 3.001 | 10,001 | 90,001 | 100.001 | 399.091 10
(miles) 10 30 100 300 | 1,000 3,000 | 10,000 | 30,000 | 100,000 | 300,000 1,000,000
Greater

than 0 to

Ye une| 0} O4f o4] 40) 4] 148] 41] 180| 408} 1,903| 4081) 13,034
Greater

than Ye

tov w..| of 008! o2| o7| 2| 7] 20| @5| 204] @52) 2041 6,517
Greater

than

tot. | O} 002] O41] O38) 14 3| 10/ 33| 102| 326| 1,020 3,258

“Round the number of people present within a travel distance category to nearest integer. Do not round the assigned dis-
tance-weighted

population value to nearest integer.

6.1.2.4 Calculation of nearby population
threal score. Multiply the values for likeli-
hood of exposure, waste characteristics, and
targets for the nearby population threat, and
round the product to the nearest integer. As-
sign this product as the nearby population
threat score. Enter this score in Table 5-1,

5.1.3 Calculation of soil exposure component
score. Sum the resident population threat
score and the nearby population threat
score, and divide the sum by 82,500. Assign
the resulting value, subject to a maximum of

100, as the soil exposure component score
(8,.). Enter this score in Table 6-1. :

5.2 Subsurface intrusion component. Evalu-
ate the subsurface intrusion component
based on three factor categories: Mkelihood
of exposure, waste characteristics, and tar-
gets. Figure 5-1 indicates the factors in-
cluded within each factor category for the
subsurface intrusion component.

Determine the component score (8,) in
— of the factor category values as fol-
ows:

_ @E)(WO)(T)

Sssi

Where:

LE=Likelihood of exposure factor category
value.

WC=Waste characteristics factor category
value.

SF

T=Targets factor category value.
SF=Scaling factor.

Table 5-11 outlines the specific calculation
procedure.

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TABLE 5—11—SUBSURFACE INTRUSION COMPONENT SCORESHEET
7 Maximum Value
Factor categories and factors value ed
aay c
Likelihood of Exposure:
1. Ob dE: 550
2. Potential for Exposure.
2a, Structure Containment 10
2b, Depth to 10
2c. Vertical Migration 15
2d. Vapor Migration Potential 25
3. Potential for Exposure (lines 2a " (2b + 2c + 2d), subject to a maximum of 500) .... 500
4. Likelihood of Exposure (higher of lines 1 or 3) 550
Waste Characteristics:
5. Toxicity/Degradati *)
6. Hazardous Waste Quantity *)
7. Waste Characteristics (subject to a maximum of 100) 100
Targets:
8. Exp Individual 50
9. Population:.
9a. Level | G (®)
9b. Level II Ci rations (°)
9c. Population within an Area of Subsurface Contamination (°)
9d. Total Population (lines 9a + 9b + 9c) (°)
10. F 5
11. Targets (lines 8 + 9d + 10) ®)
Subsurface Intrusion Component Score:
12. Subsurface | ion Cr (lines 4 x 7 x 11)/82,500¢ (subject to a max-
imum of 100) 100
Soil Exposure and Subsurface Intrusion Pathway Score:
13. Sail Exposure Component + Subsurface Intrusion Component (subject to a max-
imum of 100) 100

"Maximum value applies to waste characteristics category.
»Maximum value not eopicenie.
©Do not round to the nearest

5.2.0 General considerations. The sub-
surface intrusion component evaluates the
threats from hazardous substances that have
or could intrude into regularly occupied
structures from the subsurface. Evaluate the
subsurface intrusion component based on the
actual or potential intrusion of hazardous
subatances into all rerularly occupied struc-
tures that have structure containment val-
ues greater than zero and meet the criteria
identified in the section below as being ei-
ther in an area of observed exposure or in an
area of subsurface contamination. These
structures may or may not have subunits.
Subunits are partitioned areas within a
structure with separate heating, ventilating,
and air conditioning (HVAC) systems or dis-
tinctly different air exchange rates.
Subunits include regularly occupied parti-
tioned temant spaces such as office suites,
apartments, condos, common or shared
areas, and portions of residential, commer-
cial or industrial structures with separate
heating, ventilating, and air conditioning
(HVAC) systems.

In evaluating the subsurface intrusion
component, consider the following:

e Area(s) of observed exposure: An area of
observed exposure is delineated by regularly
occupied structures with documented con-
tamination meeting observed exposure cri-

teria; an area of observed exposure includes
regularly occupied structures with samples
meeting observed exposure criteria or in-
ferred to be within an area of observed expo-
sure based on samples meeting observed ex-
posure criteria (aee section 5.2.1.1.1 Observed
ezposure). Establish areas of observed expo-
sure as follows:

—For regularly occupied structures that
have no subunits, consider both the regu-
larly occupied structures containing sam-
pling location(s) meeting observed expo-
sure criteria for the site and the regularly
occupied structure(s) in the area lying be-
tween such locations to be an area of ob-
served exposure (i.e., inferred to be in an
area of observed exposure), unless avail-
able information indicates otherwise.

—In multi-story, multi-subunit, regularly
occupied structures, consider all subunits
on a level with sampling locations meeting
observed exposure criteria from the site
and all levels below, if any, to be within an
area of observed exposure, unless available
information indicates otherwise.

—In multi-tenant structures, that do not
have a documented observed exposure, but
are located in an area lying between loca-
tions where observed exposures have been
documented, consider only those regularly
occupied subunits, if any, on the lowest

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level of the structure, to be within an area

of observed exposure (i.e., inferred to be in

an area of observed exposure, unless avail-
able information indicates otherwise.

« Area(s) of subsurface contamination: An
area of subsurface contamination is delin-
eated by sampling locations meeting ob-
served release criteria for subsurface intru-
sion, excluding areas of observed exposure
(see Table 2-3 in section 2.3). The area within
an area of subsurface contamination includes
potentially exposed populations. If the sig-
nificant increase in hazardous substance lev-
els cannot be attributed at least in part to
the site, and cannot be attributed to other
sites, attribution can be established based on
the presence of hazardous substances in the
area of subsurface contamination, Establish
areas of subsurface contamination as fol-
lows:

—Exclude those areas that contain struc-
tures meeting the criteria defined as an
area of observed exposure.

—Consider both the sampling location(s)
with subsurface contamination meeting
observed release criteria from the site and
the area lying between such locations to be
an area of subsurface contamination (i.e.,
inferred to be in an area of subsurface con-
tamination). If sufficient data is available
and state of the science shows there is no
unacceptable risk due to subsurface intru-
sion into a regularly occupied structure lo-
cated within an area of subsurface con-
tamination, that structure can be excluded
from the area of subsurface contamination.

—Evaluate an area of subsurface contamina-
tion based on hazardous substances that:

@ Meet the criteria for observed exposure
of a chemical that has a vapor pressure
greater than or equal to one torr or a
Henry's constant greater than or equal
to 10-5 atm-m3/mol, or

®@ Meet the criteria for observed release in
an area of subsurface contamination and
have a vapor pressure greater than or
equal to one torr or a Henry’s constant
greater than or equal to 10-5 atm-m*%
mol, or

@ Meet the criteria for an observed release
in a structure within, or in a sample
from below, an area of observed exposure
and have a vapor pressure greater than
or equal to one torr or a Henry’s con-
stant greater than or equal to 10-5 atm-
m*/mol.

—Evaluate all structures with no subunits
that have containment factor values
greater than zero, and not documented to
meet observed exposure criteria to be in
an area of subsurface contamination if
they are lying between locations of sub-
surface intrusion samples meeting ob-
served release criteria.

—Evaluate multi-subunit structures as fol-
lows:

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@ If an observed exposure has been docu-
mented based on a gaseous indoor air
sample, consider all regularly occupied
subunit(s), if any, on the level imme-
diately above the level where an observed
exposure has been documented (or has
been inferred to be within an area of ob-
served exposure), to be within an area of
subsurface contamination. If sufficient
data is available and state of the science
shows there is no unacceptable risk due
to subsurface intrusion on the level im-
mediately above the level where an ob-
served exposure has been documented (or
has been inferred to be within an area of
observed exposure) that level can be ex-
cluded from the area of subsurface con-
tamination.

@ If observed release criteria have been
met based on a gaseous indoor air sample
collected from a level not regularly occu-
pied, consider all regularly occupied
subunit(s), if any, on the level imme-
diately above the level where the ob-
served release criteria has been docu-
mented, to be within an area of sub-
surface contamination. If sufficient data
is available and state of the science
shows there is no unacceptable risk due
to subsurface intrusion on the level im-
mediately above the level where the ob-

* served release criteria has been docu-
mented that level can be excluded from
the area of subsurface contamination,

@ If any regularly occupied multi-subunit
structure is inferred to be in an area of
subsurface contamination, consider only
those regularly occupied subunit(s), if
any, on the lowest level, to be within an
area of subsurface contamination. If suf-
ficient data is available and state of the
science shows there is no unacceptable
risk due to subsurface intrusion on the
lowest level, that structure can be ex-
cluded from the area of subsurface con-
tamination.

See Section 7.0 for establishing an area of
subsurface contamination based on the pres-
ence of radioactive hazardous substances.

If there is no area of observed exposure and
no area of subsurface contamination, assign
a score of 0 for the subsurface intrusion com-
ponent.

6.2.1 Subsurface intrusion component.
Evaluate this component only if there is an
area of observed exposure or area of sub-
surface contamination:

« Within or underlying a residence, school,
day care center, workplace, or

* Within or underlying a resource specified
in section 5.2.1.3.3,

5.2.1.1 Likelihood of exposure. Assign a
value of 550 to the likelihood of exposure fac-
tor category for the subsurface intrusion
component if there is an area of observed ex-
posure in one or more locations listed in sec-
tion 5.2.1. Enter this value in Table 5-11.

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5.2.1.1.1 Observed exposure. Establish ob-
served exposure in a regularly occupied
structure by demonstrating that a hazardous
substance has been released into a regularly
occupied structure via the subsurface. Base
this demonstration on either of the following
criteria:

* Direct observation:

—A solid, liquid, or gaseous material that
contains one or more hazardous substances
attributable to the site has been observed
entering a regularly occupied structure
through migration via the subsurface or is
known to have entered a regularly occu-
pied structure via the subsurface, or

—When evidence supports the inference of
subsurface intrusion of a material that
contains one or more hazardous substances
associated with the site into a regularly
occupied structure, demonstrated adverse
effects associated with that release may be
used to establish observed exposure.

« Chemical analysis:

—Analysis of indoor samplea indicates that
the concentration of hazardous aub-
atance(s) is significantly above the back-
ground concentration for the site for that
type of sample (see section 2.3).

—Some portion of the significant increase
above background must be attributable to
the site to establish the observed exposure.
Documentation of this attribution should
account for possible concentrations of the
hazardous substance(s) in outdoor air or
from materials found in the regularly oc-
cupied structure, and should provide a ra-
tionale for the increase being from sub-
surface intrusion.

If observed exposure can be established in
aregularly occupied structure, assign an ob-
served exposure factor value of 550, enter
this value in Table 5-11, and proceed to sec-
tion 5.2.1.1.3. If no observed exposure can be
established, assign an observed exposure fac-

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tor value of 0, enter this value in Table 5-11,
and proceed to section 5.2,1.1,2,

6.2.1.1.2 Potential for exposure. Evaluate
potential for exposure only if an observed ex-
posure cannot be established, but an area of
subsurface contamination has been delin-
eated. Evaluate potential for exposure based
only on the presence of hazardous substances
with a vapor pressure greater than or equal
to one torr or a Henry’s constant greater
than or equal to 10-° atm-m‘/mol. Evaluate
potential for exposure for each area of sub-
surface contamination based on four factors:
Structure containment (see section
6.2.1.1.2.1), depth to contamination (see sec-
tion 5.2.1.1.2.2), vertical migration (see sec-
tion 5.2.1,1.2.3) and vapor migration potential
(see section 5.2.1.1.2.4). For each area of sub-
surface contamination, assign the highest
value for each factor. If information is insuf-
ficient to calculate any single factor value
used to calculate the potential for exposure
factor values at an identified area of sub-
surface contamination, information col-
lected for another area of subsurface con-
tamination at the site may be used when
evaluating potential for exposure. Calculate
the potential for exposure value for the site
as specified in section 5.2.1.1.2.5.

6.2.1.1.2.1 Structure containment. Calculate
containment for eligible hazardous sub-
stances within this component as directed in
Table 5-12 and enter this value into Table 5-
11. Assign each regularly occupied structure
within an area of subsurface contamination
the highest appropriate structure contain-
ment value from Table 5-12 and use the regu-
larly occupied structure at the site with the
highest structure containment value in per-
forming the potential for exposure calcula-
tion. For all regularly occupied structures
with unknown containment features assign a
structure containment value of greater than
zero for the purposes of evaluating targets
(see section 5.2.1.3).

TABLE 5—12—STRUCTURE CONTAINMENT

No. Evidence of Aesiges
1 Regularly occupied with evi of ion, including docu- 10
mented ob d exp or pling of bio or inert gases, such as methane and
radon,
2 Regular led structure with subsurface intrusion pathways (@.9., 10

8. ictus | R@guiany occupied structure with an ei

4. Regularly occupied ct

maintenance and inspection.

gquiarly F open p
sumps, foundalion cracks, unsealed utility fines).

does not address all preferential subsurface intrusion pathways.
with an engineered passive vapor mitigation system
out documented Institutional controls (¢.g., deed restrictions) or evidence of regular

vapor migration barrier system that ie
with- 6

&. Reguiarty pied structure with no visible open pref fi path- 4
_ Ways from the subsurface (@.g., sumps, foundation cracks, s cnetmed cab Weak

6. pled structure with an eng ed passive vapor mitigation system (e.g. 3
passive venting) with 1 institutional Is (@.9., deed restrictions) or avi-
dence of regular maintenance and inspection.

7. ctutteeees | Reguiaty occupied structure with an engineered, active vapor mitigation system (8.g., 2

funding in place for on-going operation, i

active vanting) without documented institutional controls (6.9. deed restrictions) and

ction and

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TABLE 5—12—STRUCTURE CONTAINMENT—Continued

No. Evid of

Regularly occupied structure with a permanent engineered, active vapor mitigation sys- 1
lem (e.g. active venting) with documented institutional controls (e.g., deed restric-
_ tions) and funding in place for on-going operation, inspection and maintenance,

9. Regularly occupied structure with a foundation raised greater ihan 6 feet above ground 0

surface (e.g., structure on stilts) or structure that has been built, and maintained, in a
manner to prevent subsurface intrusion,

6.2.1.1.2.2 Depth to contamination. Assign
each area of subsurface contamination a
depth to contamination based on the least
depth to either contaminated crawl space or
subsurface media underlying a regularly oc-
cupied structure. Measure this depth to con-
tamination based on the distance between
the lowest point of a regularly occupied
structure to the highest known point of haz-
ardous substances eligible to be evaluated.
Use any regularly occupied structure within
an area of subsurface contamination with a
structure containment factor value greater
than zero. Subtract from the depth to con-
tamination the thickness of any subsurface
layer composed of features that would allow
channelized flow (e.g., karst, lava tubes, open
fractures, as well as manmade preferential
pathways such as utility conduits or drain-
age syatems).

Based on this calculated depth, assign a
factor value from Table 5-13. If the necessary
information is available at multiple loca-
tions, calculate the depth to contamination
at each location. Use the location having the
least depth to contamination to assign the
factor value. Enter this value in Table 5-11.

TABLE 5—13—DEPTH TO CONTAMINATION

Depth to
Depth range ‘2 ~~
value
0 to <10 ft (Including subslab and semi-en-
closed or enclosed crawl space contami-
nation) 10
>10 to 20 ft 8
>20 to 50 ft 6
>50 to 100 ft 4
>100 to 150 ft 2
>150 ft 0

any part of the subsurface profile has channelized flow
fearon, assign thal portion of the subsurface profile a depth

2 reguiarl occupied
watts of ren of cooaione eevee ion at a Sta. Solent
the regularly occupled structure with the least depth to con-
tamination below a structure.

§.2.1.1.2.3 Vertical migration. Evaluate the
vertical migration factor for each area of
subsurface contamination based on the geo-
logic materials in the interval between the
lowest point of a regularly occupied struc-
ture and the highest known point of haz-

ardous substances in the subsurface. Use any
regularly occupied structure either within
an area of subsurface contamination or over-
lying subsurface soil gas or ground water
contamination. Assign a value to the
vertical migration factor as follows:

e If the depth to contamination (see sec-
tion 5.2.1.1.2.2) is 10 feet or less, assign a
value of 16.

e If the depth to contamination is greater
than 10 feet, do not consider layers or por-
tions of layers within the first 10 feet of the
depth to contamination (as assigned in sec-
tion 6.2.1.1.2.2),

e If, for the interval between the lowest
point of a regularly occupied structure and
the highest point of hazardous substances in
the subsurface, all layers that underlie a por-
tion of a regularly occupied structure at the
site are karst or otherwise allow channelized
flow, assign a value of 15.

» Otherwise:

—Select the lowest effective poroaity/perme-
ability layer(s) from within the interval
identified above. Consider only layers at
least 1 foot thick.—Assign a value for indi-
vidual layers from Table 5-14 using the hy-
draulic conductivity of the layer, if avail-
able. If the hydraulic conductivity is not
available, assign a value based on the type
of material in the selected layer.

—If more than one layer has the same as-
signed porosity/permeability value, include
all such layers and sum their thicknesses.
Assign a thickness of 0 feet to a layer with
channelized flow features found within any
area of subsurface contamination at the
site.

—Assign a value from Table 5-15 to the
vertical migration factor, based on the
thickness and assigned porosity/perme-
ability value of the lowest effective poros-
ity/permeability layer(s).

Determine vertical migration only at loca-
tions within an area of subsurface contami-
nation at the site. If the necessary sub-
aurface geologic information is available at
multiple locations, evaluate the vertical mi-
gration factor ati each location. Use the loca-
tion having the highest vertical migration
factor value to assign the factor value. Enter
this value in Table 5-11.

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TABLE 5—14—EFFECTIVE POROSITY/PERMEABILITY OF GEOLOGIC MATERIALS

Type of material

(cr/sec)

Gravel; clean sand; highly p ble fractured |
eon karst limestones and dolomites.

and metamorphic rocks; per-

Sand; sandy clays; sandy loams; loamy sands; sandy silts; sediments that are pre-
dominantly sand; highly permeable till (coarse-grained, unconsolidated or compact
and highly fractured); peat; moderately permeable limestones and dolomites (no

‘Greater than or equal 1
to 1x 1073,
Less than 1x 10-2 .. 2

karst); moderately eeu sandstone; p

bt igneous
Less than 1x 10-5 .. 3

and dol

ew
low p

bility { dig
igneous rocks.

olidated till, or compact ti with some

ites (no karst); low permeability

and metamorphic rocks.

Clay; low permeability fill (compact unfractured till); shale; unfractured metamorphic
and

Less than 1x 10-7 .. 4

TABLE 5-15—VERTICAL MIGRATION FACTOR VALUES“

Thic!

of lowest porosity |

Oto5

o
an om
onaa

@ site are karst or have other
Consider only layers at least 1 foot thi

6.2.1,1.2.4 Vapor migration potential. Evalu-
ate this factor for each area of subsurface
contamination as follows:

e If the depth to contamination (see sec-
tion 5.2.1.1.2,.2) is 10 feet or less, assign a
value of 25,

e Assign a value for vapor migration po-
tential to each of the gaseous hazardous sub-
stances associated with the area of sub-
surface contamination (see section 2.2.2) as
follows:

—Aassign values from Table 516 for both
vapor pressure and Henry’s constant to
each hazardous substance. If Henry’s con-
stant cannot be determined for a hazardous
substance, assign that hazardous substance

to contamination is 10 feet or less or if, for the interval being evaluated, all layers that underlie a portion of the struc-
channelized flow fea! lures, assign a value of 15.

a value of 2 for the Henry's constant com-

ponent.

—Sum the two values assigned to each haz-
ardous substance.

—Based on this aum, assign each hazardous
substance a value from Table 5-17 for vapor
migration potential.

e Assign a value for vapor migration po-
tential to each area of subsurface contami-
nation as follows:

—Select the hazardous substance associated
with the area of subsurface contamination
with the highest vapor migration potential
value and assign this value as the vapor
migration potential factor value for the
area of subsurface contamination.

Enter this value in Table 6-11.

TABLE 5—16—VALUES FOR VAPOR PRESSURE AND HENRY'S CONSTANT

Vapor Pressure (Torr):
ter than 10

1 to 10

Less than 1

Henry's Constant (atm-
Greater than 10-3

Greater than 10-4 to 10-3

10-5 to 10-4

Less than 10-5

o-NO ON

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TABLE 5—17—VAPOR MIGRATION POTENTIAL
FACTOR VALUES FOR A HAZARDOUS SUBSTANCE

Sum of mee for vapor pressure and

lenry's constant ae

0 0
1or2 5
3or4 15
5or6 25

§.2.1,1.2.5 Calculation of potential for exrpo-
sure factor value. For each identified area of
subsurface contamination, sum the factor
values for depth to contamination, vertical
migration, and vapor migration potential,
and multiply this sum by the factor value for
structure containment. Select the highest
product for any area of subsurface contami-
nation and assign this value as the potential
for exposure factor value for the component.
Enter this value in Table 5-11.

6.2.1.1.8 Calculation of likelihood of exposure
factor category value. If observed exposure is
established for the site, assign the observed
exposure factor value of 550 as the likelihood
of exposure factor category value for the
site. Otherwise, assign the potential for ex-
posure factor value for the component as the
likelihood of exposure value. Enter the value
assigned in Table 5-11.

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toxicity/degradation and hazardous waste
quantity.

5.2.1.2.1 Tovxicity/degradation. For each haz-
ardous substance, assign a toxicity factor
value, a degradation factor value and a com-
bined toxicity/degradation factor value as
specified in sections 2.2.3, 2.4.1.2 and 5,2.1.2.1.1
through 5.2.1,2.1.3,

§.2.1.2.1.1 Toricity. Assign a toxicity factor
value to each hazardous substance as speci-
fied in sections 2.2.2 and 2.4.1.1.

§.2.1.2.1.2 Degradation. Assign a degrada-
tion factor value to each hazardous sub-
stance as follows:

e For any hazardous substance that meets
the criteria for an observed exposure, or if a
NAPL is present in the subsurface below an
area of observed exposure or area of sub-
surface contamination at a depth less than
or equal to 30 feet, assign that substance a
degradation factor value of 1.

« For all other situations, assign a deg-
radation factor value using Table 5-18. As-
sign the depth to contamination as directed
in section 5.2.1.1.2.2, except if evidence indi-
cates that biologically active soil is not
present throughout the depth beneath any
regularly occupied structure. In this situa-
tion, subtract any thickness of non-bio-

6.2.1.2 Waste characteristics. Evaluate logically active soil from the estimated

waste characteristics based on two factors: depth to contamination,
TABLE 5—18—DEGRADATION FACTOR VALUE TABLE
Half-life
h to contamination (feet)*
een ee ie >100 Days 00 dee <30 days

<10 1 1 1
10 to <30 1 1 o4
>30 1 05 04

®When determining Le ea Rae: iia LAGE tet Ranuren at ioemnoda Celera! pumas ne seers eee

with channelized flow (e.g., karst, lava tubes, open
5.2.1.1.2,2),

Calculate the half-life for each hazardous
substance that meets subsurface intrusion
observed release criteria as follows:

The half-life of a substance in the sub-
surface is defined for HRS purposes as the
time required to reduce the initial con-

tr=

and manmade p in

centration of the substance in the subsurface
by one-half as a result of the combined decay
processes of two components: Biodegradation
and hydrolysis.

Estimate the half-life (ti) of a hazardous
substance as follows:

I/n + l/b

Where:
h=Hydrolysis half-life.
b=Biodegradation half-life.

If either of these component half-lives can-
not be estimated for the hazardous substance
from available data, delete that component
half-life from the above equation,

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If no half-life information is available for a
hazardous substance and the substance ia not
already assigned a value of 1, unless informa-
tion indicates otherwise, assign a value of 1.

5.2.1.2.1.3 Calculation of toricity/degradation
factor value. Assign each substance a tox-
icity/degradation value by multiplying the
toxicity factor value by the degradation fac-
tor value. Use the hazardous substance with
the highest combined toxicity/degradation
value to assign the factor value to the tox-
icity/degradation factor for the subsurface

intrusion threat. Enter this value in Table 5—

11.

§.2.1.2.2 Hazardous waste quantity. Assign a
hazardous waste quantity factor value as
specified in section 2.4.2. Consider only those
regularly occupied structures or subunits
with a non-zero structure containment
value. Also include all regularly occupied
structures or subunits that have had mitiga-
tion systems installed as part of a removal
or other temporary response action. If suffi-
cient structure-specific concentration data
is available and state of the science shows
there is no unacceptable risk of exposure to
populations in a regularly occupied structure
or subunit in an area of subsurface contami-
nation, that structure or subunit is not in-
cluded in the hazardous waste quantity eval-
uation. In estimating the hazardous waste
quantity, use Tables 2-5 and 5-19 and:

« For Tier A, hazardous constituent quan-
tity, use the masa of constituents found in
the regularly occupied structure(s) where the
observed exposure has been identified.

—For multi-subunit structures, when calcu-
lating Tier A, use the mass of constituents
found in the regularly occupied subunit
space(s) where the observed exposure has
been identified,

e For Tier B, hazardous wastestream quan-
tity, use the flow-through volume of the reg-
ularly occupied structures where the ob-
served exposure has been identified.

—For multi-subunit structures, when calcu-
lating Tier B, use the flow-through volume
of the regularly occupied subunit spaces
where the observed exposure has been iden-
tified.

« For Tier C, volume, use the volume divi-
aor listed in Tier C of Table 5-19. Volume is
calculated for those regularly occupied
structures located within areas of observed
exposure with observed or inferred intrusion
and within areas of subsurface contamina-
tion.

—In evaluating the volume measure for
these listed areas of observed exposure and
areas of subsurface contamination based
on a gaseous/vapor intrusion or the poten-

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tial for gaseous/vapor intrusion, consider

the following:

@ Calculate the volume of each regularly
occupied structure based on actual data.
If unknown, use a ceiling height of 8 feet.

@ For multi-subunit structures, when cal-
culating Tier C, calculate volume for
those subunit spacea with observed or in-
ferred exposure and all other regularly
occupied subunit spaces on that level,
unless available information indicates
otherwise. If the atructure has multiple
stories, also include the volume of all
regularly occupied subunit spaces below
the floor with an observed exposure and
one story above, unless evidence indi-
cates otherwise.

@ For multi-subunit structures within an
area of subsurface contamination and no
observed or inferred exposure, consider
only the volume of the regularly occu-
pied subunit spaces on the lowest atory,
unless available information indicates
otherwise.

« For Tier D, area, if volume is unknown,
use the area divisor listed in Tier D of Table
5-19 for those regularly occupied structures
within areas of observed exposure with ob-
served or inferred intrusion and within areas
of subsurface contamination.

—In evaluating the area measure for these
listed areas of observed exposure and areas
of subsurface contamination, calculate the
area of each regularly occupied structure
(including multi-subunit structures) or
subunit based on actual footprint ares
data.

@ If the actual footprint area of the atruc-
ture(s) is unknown, use an area of 1,740
square feet for each structure (or subunit
space).

®@ For multi-subunit structures, when cal-
culating Tier D, calculate area for those
subunit spaces with observed or inferred
exposure and all other regularly occupied
subunit spaces on that level, unless
available information indicates other-
wise. If the structure has multiple sto-
ries, also include the area of all regularly
occupied subunit spaces below the floor
with an observed exposure and one atory
above, unless evidence indicates other-
wise.

@ For muiti-subunit structures within an
area of subsurface contamination and no
observed or inferred exposure, consider
only the area of the regularly occupied
subunit spaces on the lowest story, un-
less available information indicates oth-
erwise.

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TABLE 5—19—HAZARDOUS WASTE QUANTITY EVALUATION EQUATIONS FOR SUBSURFACE INTRUSION

COMPONENT
Tier Measure Units ae
A Hazardous Constituent Quantity (C) Lb c
BP Hazardous Wi Quantity (W) Lb W/s,000
CPE senenriernrenen | Wolume (V).
Ai i (s) in areas of observed expo- | yd? . | W225
sure or subsurface contamination.
- | Area (A).
Ri d (s) in areas of observed expo- | ft .. ANB
sure or subsurface contamination.

® Do not round to the nearest integer.
» Convert volume to aes ee
*Calculate volume of

necessary: 1 ton=2,000 ee, cubic yard=4 drums=200

gallons.
space in areas of observed exposure and areas of sub-

surface contamin: site doe
$Calculate a of the footprint

the structure or subunit space.

For the subsurface intrusion component, if
the hazardous constituent quantity is ade-
quately determined for all areas of observed
exposure, assign the value from Table 2-6 as
the hazardous waste quantity factor value. If
the hazardous constituent quantity is not
adequately determined for one or more areas
of observed exposure or if one or more areas
of subsurface contamination are present, as-
sign either the value from Table 2-6 or assign
a factor value as follows:

« If any target for the subsurface intrusion
component is subject to Level I or Level IL
concentrations (see section 2.5), assign either
the value from Table 2-6 or a value of 100,
whichever is greater, as the hazardous waste
quantity factor value for this component.

e If none of the targets for the subsurface
intrusion component is subject to Level I or
Level II concentrations and if there has been
a removal action that does not permanently
interrupt target exposure from subsurface
intrusion, and if an area of subsurface con-
tamination exists, assign a factor value as
follows:

—Determine the values from Table 2-6 with
and without consideration of the removal
action.

—If the value that would be assigned from
Table 2-6 without consideration of the re-
moval action would be 100 or greater, as-
sign either the value from Table 2-6 with
consideration of the removal action or &
value of 100, whichever is greater, aa the
hazardous waste quantity factor value for
the component,

—If the value that would be assigned from
Table 2-6 without consideration of the re-
moval action would be less than 100, assign
a value of 10 as the hazardous waste quan-
tity factor value for the component.

« Otherwise, if none of the targets for the
subsurface intrusion component is subject to
Level I or Level II concentrations and there
has not been a removal action, assign a value

me cailing height cnn a on value is known.
of each ructure in areas of observed exposure and areas of subsurface
area of a regularly occupied sicehee is unknown, use 1,740 square feel as the footprint area of

from Table 2-6 or a value of 10, whichever is
greater,

Enter the value assigned in Table 65-11.

§.2.1.2.3 Calculation of waste characteristics
factor category value. Multiply the toxicity/
degradation and hazardous waste quantity
factor values, subject to a maximum product
of 1 x 108. Based on this product, assign a
value from Table 2-7 (section 2.4.3.1) to the
waste characteristics factor category. Enter
this value in Table 5-11.

5.2.1.3 Targets. Evaluate the targets factor
category for the subsurface intrusion threat
based on three factors: Exposed individual,
population, and resources in regularly occu-
pied structures with structure containment
factors greater than 0. Evaluate only those
targets within areas of observed exposure
and areas of subsurface contamination (see
section 5.2.0).

In evaluating the targets factor category
for the subsurface intrusion threat, count
only the following as targets:

« Exposed individual—a person living, at-
tending school or day care, or working in a
regularly occupied structure with observed
exposure or in a structure within an area of
observed exposure or within an area of sub-
surface contamination.

« Population—exposed individuals in a reg-
wlarly occupied structure within an area of
observed exposure or within an area of sub-
surface contamination,

e Resources—located within an area of ob-
served exposure or within an area of sub-
surface contamination as specified in section
§.2.1.8.3,

If a formerly occupied structure has been
vacated due to subsurface intrusion attrib-
utable to the site, count the initial targets
as if they were still residing in the structure.
In addition, if a removal or temporary re-
sponse action has occurred that has not com-
pletely mitigated the release, count the ini-
tial targets as if the removal or temporary

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response action has not permanently inter-
rupted target exposure from subsurface in-
trusion. Evaluate those targets based on con-
ditions at the time of removal of temporary
response action.

For populations residing in or working in a
multi-subunit structure with multiple sto-
ries in an area of observed exposure or area
of subsurface contamination, count these
targets as follows:

e If there is no observed exposure within
the structure, include in the evaluation only
those targets, if any, in the lowest occupied
level. If sufficient structure-specific con-
centration data is available and state of the
science shows there is no unacceptable risk
of exposure to targets in the lowest level,
those targets are not included in the evalua-
tion.

e If there is an observed exposure in any
level, include in the evaluation those targets
in that level, the level above and all levels
below. (The weighting of these targets is
apecified in Section 5.2.1.3.2.) If sufficient
structure-specific concentration data is
available and state of the science shows
there is no unacceptable risk of exposure to
targets in the level above where the observed
exposure has been documented, those targets
are not included in the evaluation.

6.2.1.3.1 Exposed individual. Evaluate this
factor based on whether there is an exposed
individual, as specified in sections 2.5.1, 2.5.2
and 5.2.1.3, who is subject to Level I or Level
II concentrations.

First, determine those regularly occupied
structures or partitioned subunit(s) within
structures in an area of observed exposure
subject to Level I concentrations and those
subject to Level IT concentrations as speci-
fied as follows (see section 5.2.0):

* Level I Concentrations: For contamina-
tion resulting from subsurface intrusion,
compare the hazardous substance concentra-
tions in any sample meeting the observed ex-
posure by chemical analysis criteria to the
appropriate benchmark. Use the health-
based benchmarks from Table 5-20 to deter-
mine the level of contamination.

—If the sample is from a structure with no
subunits and the concentration equala or
exceeds the appropriate benchmark, assign
Level I concentrations to the entire struc-
ture.

—If the sample is from a subunit within a
structure and the concentration from that
subunit equals or exceeds the appropriate
benchmark, assign Level I concentrations
to that subunit.

e Level IT Concentrations: Structures, or
subunits within structures, with one or more
samples that meet observed exposure by
chemical analysis criteria but do not equal
or exceed the appropriate benchmark; atruc-
tures, or subunits, that have an observed ex-
posure by direct observation; and structures

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inferred to be in an area of observed exposure

based on samples meeting observed exposure,

are assigned Level I concentrations.

—For all regularly occupied structures, or
subunits in such structures, in an area of
observed exposure that are not assigned
Level I concentrations, assign Level 0 con-
centrations.

Then assign a value to the exposed indi-
vidual factor as follows:

e Assign a value of 50 if there is at least
one exposed individual in one or more regu-
larly occupied structures subject to Level I
concentrations.

* Assign a value of 45 if there are no Level
I exposed individuals, but there is at least
one exposed individual in one or more regu-
larly occupied structures subject to Level IL
concentrations.

e Assign a value of 20 if there is no Level
I or Level 0 exposed individual but there is
at least one individual in a regularly occu-
pied structure within an area of subsurface
contamination. Enter the value assigned in
Table 5-11.

5.2.1.3.2 Population. Evaluate population
based on three factors: Level I concentra-
tions, Level IT concentrations, and popu-
lation within an area of subsurface contami-
nation. Determine which factors apply as
specified in section 5.2,1.3.1, using the health-
based benchmarks from Table 5-20. Evaluate
populations subject to Level I and Level IZ
concentrations as specified in section 2.5.

TABLE 5-20—HEALTH-BASED BENCHMARKS FOR
HAZARDOUS SUBSTANCES IN THE SuB-
SURFACE INTRUSION COMPONENT

Screening concentration for cancer corresponding
to that concentration that corresponds to the
10-* individual cancer risk using the inhalation
unit risk. For oral exposures use the oral cancer
slope factor.

Screening concentration for noncancer toxicological
responses corresponding to the reference dose
(RfD) for oral exposure and the reference con-
centration (RfC) for inhalation exposures.

Count only those persons meeting the cri-
teria for population as specified in section
5.2.1.3, In estimating the number of individ-
uals in structures in an area of observed ex-
posure or area of subsurface contamination
if the actual number of residents is not
known, multiply each residence by the aver-
age number of persons per residence for the
county in which the residence is located.

§.2.1.3.2.1 Level I concentrations. Assign the
population aubject to Level I concentrations
as follows:

1, Identify all exposed individuals regu-
larly present in an eligible structure with a
structure containment value greater than
zero, or if the structure has subunits, iden-
tify those regularly present in each subunit,

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located in an area of observed exposure sub-
ject to Level I concentrations as described in
sections 5.2.0 and 5.2.1.3.1. Identify only once
per structure those exposed individuals that
are using more than one eligible subunit of
the same structure (¢.g., using a common or
shared area and other parts of the same
structure),

2. For each structure or subunit count the
number of individuals residing in or attend-
ing school or day care in the structure or
subunit.

3. Count the number of full-time and part-
time workers in the structure or subunit(s)
subject to Level I concentrations. If informa-
tion is unavailable to classify a worker as
full- or part-time, evaluate that worker as
being full-time. Divide the number of full-
time workers by 3 and the number of part-
time workers by 6, and then sum these prod-
ucts with the number of other individuals for
each structure or subunit.

4. Sum this combined value for all struc-
tures, or subunits, within areas of observed
exposure and multiply this sum by 10.

Assign the resulting product as the com-
bined population factor value subject to
Level I concentrations for the site, Enter
this value in line 9a of Table 5-11.

§.2.1.3.2.2 Level JI concentrations. Assign
the population subject to Level IT concentra-
tions aa follows:

1. Identify all exposed individuals regu-
larly present in an eligible structure with a
structure containment value greater than
zero, or if the structure has subunits, iden-
tify those regularly present in each subunit,
located in an area of observed exposure sub-
ject to Level 0 concentrations as described
in sections 6.2.0 and 6,2.1.3.1. Identify only
once per structure those exposed individuals
that are using more than one eligible
subunit of the same structure (e.g., using a
common or shared area and other parts of
the same structure).

2. Do not include exposed individuals al-
ready counted under the Level I concentra-
tions factor.

3. For each structure or subunit(s), count
the number of individuals residing in or at-
tending school or day care in the structure,
or subunit, subject to Level I concentra-
tions.

4. Count the number of full-time and part-
time workers in the structure or subunit(s)
subject to Level I concentrations. If infor-
mation is unavailable to classify a worker as
full- or part-time, evaluate that worker as
being full-time. Divide the number of full-
time workers by 3 and the number of part-
time workers by 6, and then sum these prod-
ucts with the number of other individuals for
each structure or subunit.

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§. Sum the combined population value for
all structures within the areas of observed
exposure for the site.

Assign this sum as the combined popu-
lation factor value subject to Level IL con-
centrations for this site. Enter this value in
line 9b of Table 5-11.

5.2.1.3.2.3 Population within area(s) of sub-
surface contamination. Assign the population
in area(s) of subsurface contamination factor
value as follows. If sufficient structure-spe-
cific concentration data is available and
atate of the science shows there is no unac-
ceptable risk of exposure to populations in a
regularly occupied structure in an area of
subsurface contamination, those populations
are not included in the evaluation. (see sec-
tions 5.2.0 and 6.2.1.3,1):

1. Identify the regularly occupied struc-
tures with a structure containment value
greater than zero and the eligible population
associated with the structures or portions of
structures in each area of subsurface con-
tamination:

* For each regularly occupied structure or
portion of a structure in an area of sub-
surface contamination, sum the number of
all individuals residing in or attending
school or day care, in the structure or por-
tion of the structure in the area of sub-
surface contamination.

e Count the number of full-time and part-
time workers regularly present in each
structure or portion of a structure in an area
of subsurface contamination. If information
is unavallable to classify a worker as full- or
part-time, evaluate that worker as being
full-time. Divide the number of full-time
workers by 3 and the number of part-time
workers by 6. Sum these products with the
number of individuals residing in or attend-
ing school or day care in the structure.

« Use this sum aa the population for the
structure.

2. Estimate the depth or distance to con-
tamination at each regularly occupied struc-
ture within an area of subsurface contamina-
tion based on available sampling data, and
categorize each eligible structure based on
the depth or distance to contamination and
sample media as presented in Table 5-21.
Weight the population in each structure
using the appropriate weighting factors in
Table 5-21. If samples from multiple media
are available, use the sample that results in
the highest weighting factor.

3. Sum the weighted population in all
structures within the area(s) of subsurface
contamination and assign this sum as the
population within an area of subsurface con-
tamination factor value. Enter this value in
line 9c of Table 5-11.

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TABLE 5—21—WEIGHTING FACTOR VALUES FOR POPULATIONS WITHIN AN AREA OF SUBSURFACE
CONTAMINATION

Eligible populations * in structures within an area of subsurface contamination

Samples From Within Structures or in Crawl Spaces

1. Population in a structure with levels of contamination in a semi-enclosed or enclosed crawl space sample

observed release criteria or

Population in a subunit of a multi-story structure within an area of subsurface contamination located wey
above a level in an area of observed exposure or a gaseous indoor air i 9 observed

teria or

Population within a structura where a miligalion system has been installed as part of a removal or other tem-

porary response action.
2. Population in a structure where levels of

0.9

criteria are inferred based

on semi-enciosed or enclosed crawl space ples in

ig

J and a NAPL is present in

those samples

0.8

criteria are inferred based

3. Population in a structure where levels of inants

on semi J or d crawl space samples in

J but no NAPL is present .......... 0.4

Subsurface Samples From Less Than or Equal to 5 Feet From a Foundation

4. Population in a structure where levels of contami

criteria are found or in-

ferred based on any sampling media at or within five feet aoa or

and a NAPL Is present within that depth

ly of the

0.8

critenia are found or in-

5. Population in a structure where levels af

saved Doekd on ere pospivin rnecie ot Gr Wana Bos Seet worcniony or

lly of the te
04

but no NAPL Is present within that depth

From

Than 5 Feet But Less Than or Equal to 30 Feet Depth

criteria are found or in-

6, Population in a structure where levels of contami
ferred based on any underlying

9 observed rel
rd walt subsirac srl lt daph ath 5 ot ut ss
than or equal to 30 feet from a structure foundation and a NAPL is present within that depth ..
7. Population in a structure where levels of contaminants meeting observed release criteria a

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tecred Uaened on iniy uneie/ig non-yrcund Weler subeiiaas sample ai:6 deci greater han & Yok but ines
than of equal to 30 feel, but mo NAPL is present wilhin that dapth 02
8. Population in a structure where levels of contaminants meeting observed release criteria are found or in-
ferred based on underlying ground waler samples greater than 5 feet from the structure foundation but less
than or equal to 30 feet, and a NAPL is p in those samph 02
9. Population in a structure where levels of inants meeting ob d release criteria are found or in-
ferred based on underlying ground waler samples greater than 5 feet from the structure foundation but less.
than or equal to 30 feet, but no NAPL is present in those samples O41

Subsurface Samples From Greater Than 30 Feet Depth

10. Population in a structure where levels of contaminants meeting observed release criteria are found or in-

ferred based on any underlying sample al depths greater than 30 feet O41

“Eligible lations include residents (incl
workers In regulaity occupied structures ( oS

inciviniale, se in, or attending school or day care in the structure), and

S Eligible structures may include <— or multi-tenant srachuies where eligible populations reside, attend school or day care,

or These structures may also be mixed use structures.

§.2.1.3.2.4 Calculation of population factor
value. Sum the factor values for Level I con-
centrations, Level IL concentrations, and
population within the area(s) of subsurface
contamination. Assign this sum as the popu-
lation factor value. Enter this value in line
9d of Table 5-11.

5.2.1,3.3 Resources. Evaluate the resources
factor as follows:

« Assign a value of 5 if a reaource structure
(e.g., library, church, tribal facility) is
present and regularly occupied within either
an area of observed exposure or area of sub-
surface contamination.

¢ Assign a value of 0 if there is no resource
structure within an area of observed expo-
sure or area of subsurface contamination.

Enter the value assigned in Table 5-11.

5.2.1.3.4 Calculation of targets factor cat-
egory value. Sum the values for the exposed
individual, population, and resources factors.
Do not round to the nearest integer. Assign
this sum as the targets factor category value
for the subsurface intrusion component.
Enter this value in Table 5-11.

5.2.2 Calculation of subsurface intrusion
component score. Multiply the factor category
values for likelihood of exposure, waste char-
acteristics, and targets and round the prod-
uct to the nearest integer. Divide the prod-
uct by 82,500. Assign the resulting value, sub-
ject to a maximum of 100, as the subsurface
intrusion component score and enter this
score in Table 5-11.

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5.3 Calculation of the soil exposure and sub-
surface intrusion pathway score. Sum the soil
exposure component score and subsurface in-
trusion component score. Assign the result-
ing value, subject to a maximum of 100, as
the soil exposure and subsurface intrusion
pathway score (Sys). Enter this score in
Table 5-11.

6.0 Air Migration Pathway

Evaluate the air migration pathway based
on three factor categories: likelihood of re-
lease, waste characteristics, and targets.
Figure 6-1 indicates the factors included
within each factor category.

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Determine the air migration pathway
score (S,) in terms of the factor category val-
es as follows:

_ (LR)(WO\T)

S
: SF

where:

LR = Likelihood of release factor category
value.

WoO = Waste characteristics factor category
value.

T = Targets factor category value.

SF = Scaling factor.

Table 6-1 outlines the specific calculation
procedure.

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90¢

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wf

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: :
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peubis
-S8 OnjBA

IA3SHSAYO9S AVMHLVd NOLLVHOI| Hiy—1L-9 Fav

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Likelihood of Release (LR)

Waste Characteristics (WC)

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Targets (T)

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Observed Release
or
Potential to Release
* Gas Potential to Release
- Gas Containment
- Gas Source Type
- Gas Migration
Potential
* Particulate Potential to
Release
- Particulate
Containment
- Particulate Source
Type
- Particulate
Migration Potential

Toxicity/Mobility
* Toxicity
- Chronic
- Carcinogenic
- Acute
* Mobility
x - Gaseous Mobility
- Particulate Mobility
Hazardous Waste Quantity
* Hazardous Constituent
Quantity
© Hazardous Wastestream
Quantity
* Volume
* Area

Nearest Individual
Population

* Level I Concentrations
* Level II Concentrations
* Potential Contamination
Resources F
Sensitive Environments

* Actual Contamination

* Potential Contamination

FIGURE 6-1

OVERVIEW OF AIR MIGRATION PATHWAY

v ‘ddy ‘00¢€ ‘Id

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TABLE 6—1—AIR MIGRATION PATHWAY SCORESHEET—Continued

Factor categories and factors wae | “aoea
3. Likelihood of Release (higher of lines 1 and 2c) 550 —
Waste Characteristics
4. Toxicity/Mobili (a)
5. Hazardous Waste Quantity (a) —:
6. Waste Characteristics 400 =
Targets
7.N 50 a
8. Po :
8a. Level | Concentrations (b)
8b. Level || Concentrations (b)
8c. Potential Contamination (b) a
i 6d. Population (lines 8a + 8b + Bc) (b) ==
9. Fi 5
10. Sensitive Environments i
10a. Actual Contamination (c)
10b. Potential Contamination (o))
10c. Sensitive Environments (lines 10a + 10b) {c)
11. Targets (lines 7+ Bd +9 + 10c) (b) a
Air Migration Pathway Score
12. Pathway Score (S,) [(lines 3 x 6 x 11)/62,500)¢ 100 =n

“Maximum value applies to waste characteristics category.
en value not applicable.

maximum of 60.
Do not round to nearest integer.

6.1 Likelihood of Release. Evaluate the like-
lihood of release factor category in terms of
an observed release factor or a potential to
release factor.

6.1.1 Observed release. Establish an ob-
served release to the atmosphere by dem-
onstrating that the site has released a haz-
ardous substance to the atmosphere. Base
this demonstration on either:

« Direct observation—a material (for ex-
ample, particulate matter) that contains one
or more hazardous substances has been seen
entering the atmosphere directly. When evi-
dence supports the inference of a release of a
material that contains one or more haz-
ardous substances by the site to the atmos-
phere, demonstrated adverse effects accumu-
lated with that release may be used to estab-
lish an observed release.

* Chemical analysis—an analysis of air
samples indicatea that the concentration of
ambient hazardous substance(s) has in-
creased significantly above the background
concentration for the site (see section 2.3),
Some portion of the significant increase
must be attributable to the site to establish
the observed release.

If an observed release can be established,
assign an observed release factor value of
650, enter this value in table 6-1, and proceed

maximum value applies to factor. However, pathway score based solely on sensitive environments |s limited to

to section 6.1.3. If an observed release cannot
be established, assign an observed release
factor value of 0, enter thie value in table 6-
1, and proceed to section 6.1.2.

6.1.2 Potential to release. Evaluate poten-
tial to release only if an observed release
cannot be established. Determine the poten-
tial to release factor value for the site by
separately evaluating the gas potential to
release and the particulate potential to re-
lease for each source at the site. Select the
highest potential to release value (either gas
or particulate) calculated for the sources
evaluated and assign that value as the site
potential to release factor value as specified
below.

6.1.2.1 Gas potential to release. Evaluate
gas potential to release for those sources
that contain gaseous hazardous substances—
that is, those hazardous substances with a
vapor pressure greater than or equal to 10-"
torr,

Evaluate gas potential to release for each
source based on three factors: gas contain-
ment, fas source type, and gas migration po-
tential. Calculate the gas potential to re-
lease value as illustrated in table 6-2. Com-
bine sources with similar characteristics
into a single source in evaluating the gas po-
tential to release factors.

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TABLE 6-2—GaS POTENTIAL TO RELEASE EVALUATION
Gas con- Gas migra-
Sou lainment | G88 SOUC® | tion Gas source
soe pes | factor pe factor | “tal factor | Sum value
value? value?
A B c (B+) A(B + C)
1..
2..
3.
4..
5.
6..
Te
8..
Gas Potential to Release Factor (Select the Highest Gas Source Value)
Enter a Source listed in table 6—4.
> Enter Gas Containment Factor Value from section 6.1.2.1.1.
©Enter Gas Source Factor Value from section 6.1.2.1.2.
¢Enter Gas Migration Factor Value from section 6.1.2.1.3.
6.1.2.11 Gas containment. Assign each value of 10 if there is evidence of biogas re-

source a value from table 6-3 for gas contain-
ment. Use the lowest value from table 6-3
that applies to the source, except: assign a

lease or if there is an active fire within the
source.

TABLE 6—-3—GaAS CONTAINMENT FACTOR VALUES

Gas containment description

“ale

All situations except those specifically listed below
Evidence of

Active fire within source

Gas collection/treatmant system functioning,
Source sut tially sur

k and no other containment specifically

d, and completely covering source
described in this

table

Source d with

Uncontaminated soil cover >3 feet:
* Source substa

cover

* Source lightly

* Source substantially devoid of vegetation

aoo on

Uncontaminated soil cover 21 foot and 23 feet
« Source heavily vegetated with essentially no exposed soil.
—Cover soil type resistant to gas migration®

—Cover soil type not resistant to gas migration or

* Source substantially vegetated with little exposed soll and cover soil type resistanl to gas migration? ............

« Other

=

Uncontaminated soll cover <1 foot:

* Source heavily vegetated with essentially no exposed soil and cover soil type resistant to gas migration>

* Other

—

Totally or partially enclosed within structurally intact building and no other

table applies

ibed in this

specifically

Source consists solely of intact, sealed containers:
* Totally p from her by
* Other

se 7 -

j, maintained cover

oo 4 oN ONT

@This value must be used if applicable.
*Consider moist fegrained and
nonresistant.

6.1.2.1.2 Gas source type. Assign a value for
gas source type to each source as follows:

« Determine if the source meets the min-
imum size requirement based on the source
hazardous waste quantity value (see section
2.4.2.1.5). If the source receives a source haz-
ardous waste quantity value of 0.5 or more,
consider the source to meet the minimum
size requirement.

soils to gas migration. Consider all other soils

« If the source meets the minimum size re-
quirement, assign it a value from table 6-4
for gas source type.

« If the source does not meet the minimum
size requirement, assign it a value of 0 for
gas source type.

If no source at the site meets the minimum
size requirement, assign each source at the

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site a value from table 6-4 for gas source
type.

TABLE 6—4—SOURCE TYPE FACTOR VALUES

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-Based on this average value, assign the
source a gas migration potential value
from table 6-7.

TABLE 6—5—VALUES FOR VAPOR PRESSURE
AND HENRY’S CONSTANT

value
Source type Par-
Gas | ticu-
late
Active fire area 14 30
Bum pit 19 22
Containers or tanks (buried/below-ground):
* Evidence of biogas release oo... 33 22
* No evidence of biogas release ..... 11 22
Containers or tanks, nol elsewhere specified 28 14
G soll (excluding land th t) 19 22
Landfamviand 28 22
Landfill:
= Evid of blogas rel 33 22
* No evidence of biogas release ........... "1 22
Pile:
© Tailings pile .......csesessesseeseeen 6 28
* Scrap metal or junk pile ...... 6 7
* Trash pile 6 6
= Chemical waste pile Vi 28
© Other waste piles .........ccceccscscecceseseee 7 28
Surface impoundments (buried/backfilled):
« Evick of biogas rel 33 22
« No evidence of biogas release ............. 11 22
Surface impoundment (not buried/backfillad):
» Dy 19 22
* Other 28 0
Other lypes of sources, not elsewhere spaci-
fied 0 0

6.1.2.1.3 Gas migration potential. Evaluate
this factor for each source as follows:

« Assign a value for gas migration poten-
tial to each of the gaseous hazardous sub-
stances associated with the source (see sec-
tion 2.2.2) as follows:

-Assign values from table 6-5 for vapor
pressure and Henry’s constant to each haz-
ardous substance. If Henry’s constant can-
not be determined for a hazardous sub-
stance, assign that hazardous substance a
value of 2 for the Henry’s constant compo-
nent.
-S8um the two values assigned to the haz-
ardous substance.
-Based on this sum, assign the hazardous
substance a value from table 6-6 for gas
migration potential.
e Assign a value for gas migration poten-
tial to each source as follows:
-Select three hazardous substances agsoci-
ated with the source:
-If more than three gaseous hazardous
substances can be associated with the
source, select three that have the highest
gas migration potential values.
-If fewer than three gaseous hazardous
substances can be associated with a
source, select all of them.
-Average the gas migration potential val-
ues assigned to the selected hazardous sub-
stances,

Vapor pressure (Torr) Sasined
G than 10 3
Greater IAM 109 tO 10 vecciesessssessesensessreniinereersen 2
10-5 to 10-3 1
Less than 10-5 0

Henry's constant (atm-m?/mol)

Greater than 10-3 3
Greater than 1073 to 1073 v.cscssssssscrsessmstencenve 2
10-7 to 10-3 1
Less than 10-7 0

TABLE 6-6—GAS MIGRATION POTENTIAL
VALUES FOR A HAZARDOUS SUBSTANCE

“vane

Sum of values for vapor pressure and Henry's
onion

0 0
1or2 6
gor4 11
5or6 17

TABLE 6~7—GAS MIGRATION POTENTIAL
VALUES FOR THE SOURCE

Average of gas migration potential values for
Wass Toestais actos

Ot <3 0
3to <B 6
8 to<14 1
14 to 17 17

*If fewer than three hazardous substances can be associ-
ated with the source, compute the average based only on
those hazardous substances that can be associated.

6.1.2.1.4 Calculation of gas potential to re-
lease value. Determine the gas potential to
release value for each source as illustrated in
table 6-2. For each source, sum the gas
source type factor value and gas migration
potential factor value and multiply this sum
by the gas containment factor value. Select
the highest product calculated for the
sources evaluated and assign it as the gas po-
tential to release value for the site. Enter
this value in table 6-1.

6.1.2.2 Particulate potential to release.
Evaluate particulate potential to release for
those sources that contain particulate haz-
ardous substances—that is, those hazardous
substances with a vapor pressure less than or
equal to 10—! torr.

Evaluate particulate potential to release
for each source based on three factors: par-
ticulate containment, particulate source
type, and particulate migration potential.

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Calculate the particulate potential to re-
lease value aa illustrated in table 6-8. Com-
bine sources with similar characteristica
into a single source in evaluating the partic-
ulate potential to release factors.

6.1.2.2.1 Particulate containment. Assign
each source a value from table 6-9 for partic-

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6.1.2.2.2 Particulate source type. Assign a
value for particulate source type to each
source in the same manner as specified for
gas sources in section 6,1.2.1.2,

6.1.2.2.3 Particulate migration potential.
Based on the site location, assign a value
from Figure 6-2 for particulate migration po-

ulate containment. Use the lowest value tential. Assign this same value to each
from table 6-9 that applies to the source. source at the site.
TABLE 6-8—PARTICULATE POTENTIAL TO RELEASE EVALUATION
Particulate Particulate
Source containment | Particulate migration Particulate
ss vor |e | See | Peet | om | ee
value?
A B Cc (B+C) A(B+C)
Ess
2..
3..
4.
&..
6.,
Tis
68.,
Particulate Potential to Release Factor Value (Select Highes! Particulate Source Value)
“Enter a Source Type listed in table 6—4.
* Enter Particulate Containment Factor Value from section 6.1.2.2.1.
*Enter Particulate Source Type Factor Value from section 6.1.2.2.2,
Enter F Migration F Factor Value from section 6.1.2.2.3.
TABLE 6—-9—PARTICULATE CONTAINMENT FACTOR VALUES
Particulate containment description —
All situations except those specifically listed below 10
Source contains only particulate hazardous sub totally d by liquids 0
Source ially Jed by engi windbreak and no other containment specifically described in this
table applies a
Source covered with essentially impermeable, regularly inspected, maintained cover 0
Uncontaminaled sail cover >3 feet:
« Source substantially vegetated with little or no d soil 0
* Source lightly veg with much exposad soil 3
* Source substantially devoid of veg 7
Uncontaminated soll cover 21 foot and <3 feet:
» Source heavily veg d with ially no exposed soil:
—Cover soil type resistant to gas mig) a 3
—Cover soil type not to gas migration® or unk 7
« Source substantially veg with litte exposed soil and cover soil lype resistant to gas migration® .. z
« Other 10
Uncontaminated soll cover <1 foot:
* Source heavily vegetated with essentially no exposed soil and cover soil type resistant to gas migration® ..... 7
« Other 10
Totally or partially enclosed within structurally intact bullding and no other specifically de jin this
table applies. 7
Source solely of
* All containers contain only liquids 0
All containers intact, sealed, and totally protected from weather by regularly inspected, maintained cover ...... 0
* All containers intact and sealed 3
« Other 10

non

*Consider moist fine-grained and saturated coarse-grained soils resistant to gas migration. Consider all other soils

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Ons E! ea ~— a i

FIGURE 6-2
PARTICULATE MIGRATION POTENTIAL FACTOR VALUES

Aouaby uoyoejolg |DJUsWUOAUy

‘Wd

y ‘ddy ‘
